                                  Case 3:17-cv-00223-RS Document 329 Filed 01/30/18 Page 1 of 55



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                            J   Telephone: (510) 834-6600
                                Fax: (510) 834-1928
                            4   Email : edreyfuss@wendel.com

                            5   Attorneys for Susan L. Uecker, Receiver

                            6

                            7                               UNITED STATES DISTRICT COURT

                            8                              NORTHERN DISTRICT OF CALIFORNIA

                            9                                      SAN FRANCISCO DIVISION

                           10

                                SECURITIES AND EXCHANGE                         Case   No.   3: 17-CV-00223-RS
                           11
                                COMMISSION,
o-
J
J                          t2                 Plaintiff,
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*lÈ                                    vs.
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(5 -..9
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'9E                             SAN FRANCISCO REGIONAL CENTER, LLC;
c        õ;
oeò
ØØ                              THOMAS M. HENDERSON; CALIFORNIA
                           15
ô_o
É:5 !                           GOLD MEDAL, L.P.; CALLSOCKET, L.P.;             STANDARDIZED FUND ACCOUNTING
    -:
õð
þ                          T6
                                CALLSOCKET II, L.P.; CALLSOCKET III,            REPORT FOR CONSOLIDATED SEC VS.
c
0)                              L.P.; COMPREHENSIVE CARE OF                     SFRC RECEIVERSHIP ENTITIES FOR
3                               OAKLAND, L.P.;NA3PL, L.P.; WEST                 REPORTING PERIOD: OCTOBER I,
                           t7                                                   2017 TO DECEMBER 31,2017
                                OAKLAND PLAZA, L.P.; CALLSOCKET,
                                LLC; CALLSOCKET II, LLC; CALLSOCKET
                           18
                                III, LLC; COMPREHENSIVE CARE OF
                           T9
                                CALIFORNIA, LLC; IMMEDIA, LLC; ANd
                                NORTH AMERICA 3PL, LLC,
                           20
                                              Defendants,
                           21
                                              -and-
                           22
                                CALLSOCKET HOLDING COMPANY, LLC;
                                CALLSOCKET III HOLDING COMPANY,
                           23
                                LLC; BERKELEY HEALTHCARE
                                DYNAMICS, LLC; CENTRAL CALIFORNIA
                           24
                                FARMS, LLC; ANd JL GATEWAY, LLC,
                           25
                                              Relief Defendants.
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009589.0024\4985997.   I
                                STANDARDIZED FI,JND ACCOUNTING REPORT                                            3:17-CV-00223-RS
                        Case 3:17-cv-00223-RS Document 329 Filed 01/30/18 Page 2 of 55

                       STANDARDIZEÐ FUND AccouNTtNc REpoRT fþr consûtidated.sEc
                                                                                                                                v¡,;sFRt   Recelvership EnfiUee,cash Bssls.
                       RecÈ¡ver¡hlp Civtl.Cou¡t Case No, 3:1?-cv-0022g-R$
                                                                3't    v



                                         Belance (As ol Ostobs.              it    ZO,l7l
                                             Fand Balance:
              2                        Incomo                                                                       4,675,266.84        4:075;258:8ð
              3        Gash Otrd Secur.Itles,Tranefe¡¡ snd'TurnovpÍ                                                26r938,7.95,70            11236;61
  Llns 4
              ;õ
                                                                                                                        92,30€,00           32.338.09
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              7,
              I                               - Other                                                                    4,860,46          4,880t6
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                      Diob'u¡¡ement! to t nvastors
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              1.0a                            to Røc?¡lwr.or Otftar noîèsslonals                                    1,0J2i607.58       '!,01a,607,ã8
              10b                             Expenses                                                              6,130,4C5.2õ       '3,,130,495:25
              10c     Persoaa, Asse, Exne¡ses
              1od.    'lnvêstment E)rpenses
              .l0e                  [iT/galior Enpenses
                           l. AttÕmey Fees
                          2. Lltigâtlon Expdr|s€s
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              los                ãndSt¡lo I€x
                                                                                                                   û,143,042ß3
              t1      Dlsburiemonts ìfor Dþtrlbuüon ExpenSer F6¡d by.ths
          11a             Dlsttib utlon Plan, Devctopmer¡l Expolrse s:
                           l. Feog:
                                  Fund,ÀdrnlnÌstrator.,. .,...,,,..,., ..,,..,,.
                                 lnd8pendBnl Dlslrtbutìon Consuttant (tDC).
                                 Disblbuflsn Agent,,,,,...,, ",.....,..,.,
                                 Consu¡lants... ....
                                 Legal ,Adv¡bãrE..,.
                                 ïaX Advis€rs.,........ .,..
                           2,,Adminl8tråtive Fxpgnses
                           9: Mlscellaneous
                         Tpþt-E!.|L1gvgþplret1l_Erpo_öcå_
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              1b         Dífr bulton Flan. I mplømentation Expanoø r:
                           1, Fees:
                                    Fund AdmhigÛator.,. ....,.,.... ...... ...
                                    lDç.-.............,,
                                    Dístributlo¡| A9on1..,,...,.,,...,,...,,..
                                    Consuttâñts..
                                    Legal Advis€rs....
                                    TaxAdvlsers...,..                             ,,,,,.,.,,....,.........
                           2.,Aclmînistralivo Ëxpen ges
                          ,3. tnv¡stor ldentÍñcãüôn:
                                Nðfc€/puöti3htng ¡pproved ptan..,.......,....,,,,.........
                                Clslmânt ldent¡noaüon.,...,,.......-
                                 Cldlms ProcÞssing
                                 Wèb 8itô ûtalaþnanêslcall Centor:..
                            Fund,qdmhirlrator Sond
                          ¡1.
                         5. MisGell¡lneoUÊ
                         6. Fçctor¿l Acco.unt.for hvestor Restf tufl on (FAIR)
                         Reportlng Ëxp-enaes



       12            Dlsbursomontg to Court/other:
       12a              I nw atme nt        Expen'ssgico¿rt Reg¡stry lnwstment
                                fCRrq Fees
       't2b             Federal       lþx   pd}.tø¡fents
                      Tq¡tål Dlsb.uragmÐnlr,tTrrticfûrt Eotyd¿n Enlltlcr                                         ¿F,93r,659.09
                      Ì(¡t¡l Fundc DliõurË6d ,(LlnËr 9- l1):                                                      8,14¡:042.S9                          q,f43,04Zj8S
                                                                                                                                     6;143¡042;03
Llne   l3                    gâþnca (åe ôf Dè€omber tt
                                                           lot7)¡
       tt4a                     I            Equlvalonts                                                         44,s62$42.67       46;382,842:57
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                     Case 3:17-cv-00223-RS Document 329 Filed 01/30/18 Page 3 of 55

       l4b                 tnvañîants           _
       l4c.            Onrór¿ssdts or Ltnãlearcd Funds
                      Total Endlng Balancc of Fund - Net As¡otB                                   46,36?.6.f2r67         46,362,042.57




                                 øl ltsmt Notr To Be pafil by thc'Fund:
      It                               for'Plån Admlnlõlrt¡fion Exponcg¡ ,I{ol                     by the Fund:
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                                 Fees;
                                   Fund Admhistr¡tor
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                                   Dlótribuuori Ag€nt..
                                   Consullanus........
                                   Lêg8l AdvÍEors..".
                                   ïax Adv¡seÍs,...,.
                            2.   Admlnletratlve Epenqes
                            3. Mlscellãnepus


      15b                  Plan lmplenentdt¡on Exponsos /Vol'pald'by.the Fund:
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                                  Distrlbution 49ent.,.,,.........,.,...,..
                                  Consullånts.,. ,.,.,
                                  Legal,Advisers,,,.
                                  Tsx.Advlsers,.,.
                           2. Administrâtlvs Exponsð8
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                                  Noùce/Publishing,4ppror¡ç6 rp¡¡¡,,

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                                  Weþ Sité Mãlnlenânoe/Cdll Genter.
                           4. Fuñd,AdmhlstratoÍ Eond
                           S. MiscelfEneous
                           6. FAIR Reportlng Expenses

     læ                                             Feos & Bonds Nof


     10                                     to Cou rt/Other ìlot Pald by tño. Fdndr
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     t6b               FedaÊlTa(            Pay.''//ônLi




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     18d              #    oî Clalms Received Thls Rapañng perfod...,. ... ,... ,.- .,,                          .r,rr,,, !.,ì¡,   ¡¡;   ¡¡;,,.
     1þb              # of Crsims    Rccrlvad Ð¡hcelnct¿pl¡on of Fund,,-.......,.
     ls           l,¡o. of   Cl¡lmånùrrlnvostolti
'Llna
      tgE             #    oi Clalmants/tnvÞslors            F?¡id Th'ls R6porting Fcrtod:
      rgb                  af                                                      df Fund.




      #                                                    It6m                                                                                   l{Òlbs
                  Total DisbursemÊnts to cûur{                                                   26,938,7S5,   70   Totat lransfered bstwoen, enities <
                                                                                                                    $26,gBe,ggg.0gi tumsver from Tribunê Tavern.=
                                                                                                                    $ì,230.61.
2             I
                  Disbursements to Receiver or'Other prolèssionsls                                1,0J2.607.58 Thls n¡mbEr is reflected                    tn th€ SPRO,report.

3             lfota ending            Éafûnce of Fund , ñet Asset8                               46,382,842:17                                    reeerves of $l 6,882,4tì9.28.


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                Case 3:17-cv-00223-RS Document 329 Filed 01/30/18 Page 4 of 55

                 STANDARDIUED FUND ACCOUNTING RÊPORT for Calt Socket Lp Rec€lysrshlÞqash
                                                                                         Basts
                 Recelvershlp Cìvll Gourt Case No. 3:17+v.00223-RS
                                                                               26'17



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           tl    Beglnnlng Bãlanco iA¡.ot,OcloUer l, :101i)
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      6          Pei¡en¡l
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                   Toþl Funde Av¡illablÈ (Unes I                -   B)!                                t6l.l   2        ror,r2        69tiflpr4g
                                    ln Fund Ealançe;
       9                                    lnvestors
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       lag                 .andr$falç TaxPÊl!,irÍÆ,nls
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                        1   Fèes;
                              Fund Adinlûisffãtor.r,.,,,,......¡,,"...,,
                              tndependent Dlstrthution oonsullsnt (ltto)...,.,. _,.
                              Dlslributlon Ag6ñt.,..,.....,......
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                        2. Adrnfnislråtive. Ëxpenees
                        3, Mlgaêllaneous

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                        2.,Admlní$tratív6 Expenses,
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                             Web S¡te MstnlÞnanc€/Cäll Centêr...........,,,........
                    4ì Funö Admhiistigtor Bond,
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                    6, Federat Account lor tnvestor Regtitut¡on
                    (FÂlR):                   Expeneee



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                    Case 3:17-cv-00223-RS Document 329 Filed 01/30/18 Page 5 of 55
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            :Í4e.                    t tas/r Êqulvalents                                                  597,382.67'           597.382:07
            14þ             ,nl€sfrnenfg
            14e             Ot rer Assots ol1 Uttõlþarcd. Funds
                       Tot¡l Endlng Bðtrn€6,oJ Fund                  - ilet,À¡¡ee                         ã9T,s8!;67            697,382:67




                                   ol-Items ll@l to 8c P.an.Dy uto: Fttndi
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           t'5b             Ptan lmplenentetìon Expeäseo Nof pa td þ.ythè
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                            2, Adminlsti¿tjve Exponses.
                            3"    lnve¡to¡ ldBntlllo¡rtton:
                                    t'loti.o9/P,vbüsntng.AÞproved    Ftan.....;,r..,...o,,,.,,..
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                                    Clãlms Pr,qqrlsihg
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                            ¡l Fund Adrninlsttrto"r Bónd
                            5. Mlècellanesus
                            8. FAIR Repor.fing Expensas,

           t50                                     Fee¡      I                                    Fund

           It        Dl8b'urûomenþ, ro.Gourt/Orhor Not pátd by th.erFund..
           f6e          nwslrßnt ExpansBqlCRJS ¡bps
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    Llne 18a
    Unq !8b             * al Gtalms Roèè¡uod Slnoe h@ptfon                   of'Fund,.
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    LInø 19a            * ol êl a ln ant sltnvp go rs               Thls
    Ltno   lSb



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    1               lford Endin! Bälbnce of Fund:- Net,Asòets                                            s97,382.67'        IncludEs sisaro\^¡ rsre¡.ûo of ,$SiÍg,02S.001
                                                                                                                            with accrued lnte¡ãst of $ð59.0i.




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                                   Case 3:17-cv-00223-RS Document 329 Filed 01/30/18 Page 6 of 55
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    Ro¡ained Ëart¡ì¡isâ:                               (2ioå5,0q-5..8?)
    fi¡i,bsvpr Funds                                      935i189.68
    Tt¡mriver of n0:vt¡-tor Funds                        5,¡+9,p75:00
    'Tu¡novor',m $!tRc                                    (84,898,621
    Ngt lroo¡ne                                          68'8ü7,3.99.

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    total tiabi tìtlar rk CaplÍll                                           $+              604,5,82,6rt




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                     Case 3:17-cv-00223-RS Document 329 Filed 01/30/18 Page 7 of 55

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                                               Susan L, Upeker' Rgr;Bivor
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                  Case 3:17-cv-00223-RS Document 329 Filed 01/30/18 Page 8 of 55

                    STANDARDIZËÞ FUNO ACçOIJNTING REPORT lor Call Spckpt                                         ll LP Regeivershtp-Cash   ðasJs
                    Rscs¡versh ip CIv¡|. Court'Oase l!lo. 3: 1 7-ov.00Z2g.RS
                              Perlodi                                    17




                                        Ealance (Ae of October 1.,201VJ                                                                            8i097,667,89
                                        in Fund:Ealance:
            2      Businsss lncomg                                                                               5,150:00           .5,1õ0;00
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        6          FerÊohal Arset f,lquldatlon
                   Thhd;Party Llugaüon lnoome
 Llne   I                                    - Refunds                                                           5,186.76           5,196,76
                     lolal       Fundg: Arrsiiable,{LÍnee            :l   -    E);                              3t,587.96          3{,687,9ô       :8,132¡266.85.
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 Line 10                                   for, RocelvgËhlp Operatlons
 'Llne lAa                               lo. Recr, lve r o r Otf,or Ptorþsstor€rs
       10b                        r4ssef Expenses                                                           213,951.64           213;95f .64
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                          1. Attomey Fees
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        10f               Admlnlsttaþr Fees and Eonds
        lag         edeml and State             lax
                                                                                                                      .64
Llna f I           DlsÞursements for Dlstrlbutfon Expsnsss pã¡d by                                      Fundr
        I   1,9       ,ülslríbutlon. Flan Dovelopment fuponceor
                          l.    Fees:
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                                  Distribut¡on 49ent. ..... ,.. ...... ...,..
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                                  LegâlAdiilr¡rrs.,.                      .,....,.:..,,,...,,..,,.,,.
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                              Tåx Adv¡sors,,..,
                         2. Adrnf nistrattve E_xpenses
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                              Clâims Pmcæsing.......,.,,..,.....
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                         4. Fund Administrator Bond
                         6; Mlsoellenequs
                         6;.Fedefal;Account for lnveslor Restitution
                                Repor:ting Expenses



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    128              I nvestment Ex pense.sÆourt Regts;tty                       ln vø   stmenl
                  .9yslerntfCR/Ð F,i¡es
LIne 12h              Federal:fâx Paynents
              Case 3:17-cv-00223-RS Document 329 Filed 01/30/18 Page 9 of 55

                 Tstâl Ol¡bur€emÞnElfÞñf6r to $FRC                                                         7.896.445.53          7,696;416.53
                 fotel Fund¡ Þl5bun¡sd {Unc¡ S - 1l)ì                                                       213.í s1,64            2f Q,051.¿S{.   &rf030r7.f 7
        ,|3            B¿lrtÈo (As ol Decønber 31, 2017):
unå t4
LI¡w 14e           Oâså ¿ Câsr? EQutvatents                                                                  21 ;858.68              21,856.6S
Une 14b            lnvasïtßnts
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                 Total Endlng B¡lance of Fund - Net Asssts                                                   21.868;68.              21.858,68       ?t¡858.68


OTHÊR SUPPLE!$ENTAL                 INFORMAjÍþN:

                             otrlêlns Ngf fo 8e Pald by the,Fund:
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linÐ l:5a          Ptdn
                       1. Fe.es;
                             Fund,Adrälhi6trâtor,.".¡¡..,,    ...
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                             Consultants,,,
                             [ggal Ndvisers.,
                             'Tå$ ¡qdvis€rs...
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                       2. Administrative Erçenses
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Lin:e   l5b        ;Plan lnplementatlon Ejßarr¡ras lvol
                    't,. Fees:
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                    2. A¡dmlnistfatlve Expgnses
                    3. nveStor ldentlfication:
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                    5' Miscellgneous
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Llne 16b          F edêrÊl' Tax,Pay.m e î ts


Llne 17            I
Llne 18        No- ol Clalme:.
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                            Case 3:17-cv-00223-RS Document 329 Filed 01/30/18 Page 10 of 55

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¡                              Case 3:17-cv-00223-RS Document 329 Filed 01/30/18 Page 11 of 55
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ì                                                           :Susan. L. ,U'èçIci, :Rcoolvm,
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            Case 3:17-cv-00223-RS Document 329 Filed 01/30/18 Page 12 of 55

             SÍANDARDIZED FUND ACCOUNTING REpORT,fsr Csll socket:lll LP Recs¡vershlp-'Cash Bas¡s
             Receivershìp Clvll Court.Case Nq. 81 1 7iov"00223.Rs
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     10d                      Erpensee
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                     1, ,Altornoy Feçs
                    2. Lltlgatlon Expenses


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     ¡11                             lar Dleldbutlon Exponeor Peld                           Ëund:
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                            Dlrtribntlon Aggn[
                            Consultanlg.,....,...
                            Legal Advlære,..
                            Tãx,Advlgsrs.,.,.
                     2; Adrñinlstretlvo Exponees
                     9. Miscellaneo.r¡s

     11b             Ai$tribuilon. Plen ¡mplementellan Erpçnoas.:
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                           .Cþnsdltånt!.,....,....,....
                           ,Lþgal Advi¡€¡s...,-...
                           T,âx Advlsê1.¡.,. .,,
                     2. Ad minislralivo'Eçsnees
                     ;3, lnvestor ldentification:
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                     4, Fund Adminlstr¡¡lor Bond
                     '6. Mlscqllånoou9
                      8. Federal Ac.count for.hvastoi Restítr¡tion
                      (FAIR) Reportlng ExDenses,



    12                               to Court/Othon
    f2a             lnve sknøn f Ex pe nse¡¿Courl Regisf{f lnvÞSûrnênt
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    fzb             Fgda¿al Tax Pa:ø¡.r,ents
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        Case 3:17-cv-00223-RS Document 329 Filed 01/30/18 Page 13 of 55

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 16                                tor Plln Atlmlrilslr¡llon Exp¡nts¡ ilqt Pald by rhã
15a          Pla:n       tlivo/opøenlÊxpenses Not Paid öy lhe,Funcl:
              t.        Fees:

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              ?, Admlnlsrat¡Vå,ExponÉ€g
              3. Mfacellaneous


15b          Pl¿tnt I nplernentafiôn         Eiþensee.No I Paid by thø
              l.    Fees:
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                         rDc...,.,.,..,-
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                Admin,sr¡$vq Exp6nsês.
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              3. nvoslor ldentiîc?tlon::
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              4. Fund AdmlnlÈtiåtöi Boôd
              6. Misoallanooua
              6. F¡NR Repor{ing Expontes

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16                       ,to OoirllOther t¡ot:P¿ld bY,tho Fund¡
16a          It vesmenl EtpênsËs/CR/S Fess,
16b          Fedêrol Tax Fayrnpnts

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t8      No. ot Clâ¡ms:
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                         Case 3:17-cv-00223-RS Document 329 Filed 01/30/18 Page 14 of 55

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Crnsnt Llahi{ltte¡

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                   Case 3:17-cv-00223-RS Document 329 Filed 01/30/18 Page 15 of 55

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                                                  Call   $ocJ<.et   Ut LLC
                                              Susån L., Ussker, Recelvcr
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Total Revonuos                                21;4.8t


Expenses

Total Expenses                                  0.00

Net Insome                        $           2¡4.88




                                         For Management Purposes Only
              Case 3:17-cv-00223-RS Document 329 Filed 01/30/18 Page 16 of 55


                ST'A¡IDARDIZED FUND ACCOUNIING REPORT for Cdll Socket hlgtding Recelvenhtp-Gedh Bssts
                Recslvershíp Clvll Court Case No. 3:17-cv-0022&RS
                                            to Decembgr 31 20117



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        3            and Securitlos                                                                                      0.00      ,0r00
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        6       Per¡onal Aaset
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                                        În Fund Balattce:
        9.                                    to lnre8to¡s
        10                                    fof Recê¡v€ählp Operatlons
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                     2. Litigatiod ExpensEe


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                      2" i¡idminiêtiative Expen$eie,
                      3, Mlscðllanegus
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       11b           Dlstñbutiøn Pldn lmptemenfatlon €rpenges;
                      1. Fe€s':
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                     4, FundAdmin¡strator Bond
                     5. Mlsoellaneoue
                     6,,Federd Account lbr investor Restitutisn
                     (F,AtR)                      Expenees,



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               Sfsþrl lCRlS,l Fees
       t2b        F.ederal Tax Paymenls
            Case 3:17-cv-00223-RS Document 329 Filed 01/30/18 Page 17 of 55


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              Report of ltsms ,V'of              fo   8g,Fa¡d þy the Fund:
     15       DËbursementã fo¡ Plan Admlnlstratlon Expenses Not Pald                                             þ   the
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                  2: AdminisfrAtJve E)çenses
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                  6, FAIR Roportlirg Expensss

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    i6b          Fêrlgral       fax Payments

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                           Case 3:17-cv-00223-RS Document 329 Filed 01/30/18 Page 18 of 55

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                   Case 3:17-cv-00223-RS Document 329 Filed 01/30/18 Page 19 of 55

                                                                                     P¡gcr I
                                         Call Socket ïtolding Cbrnpany LLC
                                              Susan L. Ueokor, Reeeiver
                                                 InËg¡t¡c Stalcmerrt
                                            För the Fo¡r¡hrQuartcr 20X7

                                      Cunç¡t Quartsr
Reyçnues.
itrtçrest lncomc                  $          238,64

Total Revenuec                               238.64


Expenees

Total Expenoes                                 Q.0o

Nét lricomo,                      $          238.64




                                          For Managoment Purposos,Only    :
              Case 3:17-cv-00223-RS Document 329 Filed 01/30/18 Page 20 of 55

               STANDARDIZED FUND AooouNTlNG REpoRT fo¡ JL Geteway Rscsivershlp-cæh Basi8
               Receivership Clrril Court Case No. 3:17-cv-00213,RS
                         Ferlod:            to Dscembei 3l      v


                                                                                                                          Grand   lotal
       1                       Balanoo (As ofoctobe¡           1,l0l¡Ì                                                      ,t87.219i04
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                        'lncoma
                                                                                          131,697.96    :l   31,5S7.95,
Llfld 3                 ond Seouritle¡
     4                              lnôome
Llne 5                      Asset Llquldatlon
Llne 6                      A.æet Llquldation
Llns 7                         Lltlgatlon lncome
Llne   I                       Less Tl Crcd¡t                                               -1,000i00        -1.000:00
                 Totål Fuhdr Ar,äliatle {Unor f            -   8}:                        ll30,597jg5   {30,5t?:96.        3t7"8lt;99
                               Ín Fund Ealance:
       g       Dlsbursements to investor¡
  ne 10        Dlsbursements, for Recelvsrshlp Operallons
       lAa                        to Re ee iu e r of @fñe¡ PmÞssfu r¡als
       t,0b    Eusiness,4ssrf Expenses                                                     Eô,1180.0s        86i1 90,09
       10c     Porson€, Assgl ãxpenses,
       t,0d                  Exþonses
       1'0s    l.h bú P a üy Lil¡galion Êxponses
                    l. Attorne¡¡ Fees
                   2.


       1Af         Ad ni n i st ra to r' Fçes, ånd Sotds
       log               andstâtg      far   Pa}4/,ents.


       11                           for Oi¡trlbutlon Expenses.Fald Þy'the Fund¡
       Ila         Dlstributlon Pl¿n Development Expensêü,
                    1. Feeg¡
                          Fund Admlni$trator,.,.....,,.,.........
                          lndepðndsñt Dlstributlofi Consullant (lDC.Ì....,.....,,..,,".
                          Dlstribution Agent... .....,
                                       . ..,
                          ConÐ)rrltantg,,
                          Legâl Adv¡s6rs...
                          Ta¡ Aduisers,.
                   2. Adminlshative Expenses
                   3, Mls.collaneous


       ltb        Distrlbuuon Plan tnplernentalton E*penses:
                   '1. Feeg:
                         Fund Administrat¡0r.,,.,...",......,...-
                         tDC.."...........
                         Disûlbu¡'ron Agént"
                         Coñsultants, .,.,.,.  ,


                         [-êgal AalvlsorÊ,,
                         Tax Aìdv¡sêrË,..., ..     ... :
                   2, Aiiministralive. Expenses
                   3. lnvestor ldontificetion;
                         No.dce/Publishlng Appro\red F|an.,..,.
                         Qlaimant ldentlfi cation.....
                         Çlakns Processing.,..,...."...,.....,
                         Wob Sitd Malntenance/C¡ll Center..,....,...
                   4, Fund,Administrator Bond
                   6. lV!iscellaneous
                   6. Federal Account for lnvestor Rsstitution (FAIR)
                   Reporting Expenses



    12.                            to çouÉ,fother;'
    l2a           lnvegtmenl Ex pensa etC,ou rt Segisky lnvectment
              Syslem fCRlS/ Fêes
    12b           Fede"al Tax Paymonts
              Case 3:17-cv-00223-RS Document 329 Filed 01/30/18 Page 21 of 55


                Totel DlsbuËotilsnþ1Tiallsfor to SFRG                           100d00û:00                                   I00r000.00
                Tðtãl F¡¡r¡d$ Blrburced (Llnei s  l1):           -              îs0,,t80;08                                  1ô6,f 80.18,   't8q,ilE0.0a
       13      Endlng Bal¡nce (As of Dgcembsr 31, 2017)!

       14,a       Casl, & Oasl, Equìvaloats                                     131,636.91                                   1r31,636,91
       t4b        /nveslmenb
       l4a        Otfior Ási¡ofs or Uncleared'Fands
                Totel: Endlng Bålanca of Fund - l,lst, AssOtå                   '13,r,63S.91                                 '131.636,91


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               Røpott     ol   ¡teme rVOf     fo   Ba.Píild by ttte n/øl,d¡
Llns   15,     D[$burssments'for Flan Admlnl¡tratlon Expgnies                 by the Fund:
       t5a        Plan Dë,vèloprnenf ExpensesÂlof'Pald by the Fund:
                  1. Feqe;
                            Fund Adrninlstrator

                            oigtributiqn Agsnt
                           ,Coñ$Jtantg.., ,..
                       lggal Advlsofs.,
                      Tax Advirõrþ...,.
                  2. Admln¡srallve Ëx.Bqnses,
                  L     Miscellaneous
                  Tot€tl Plan

       1âb       .Flan lmplementafron Expensâs fiot Paid bylhe,F.und:
                  1. Feeç:
                           Fr¡nd Admlnlslratof
                           lDô..,..
                           Distrlbütlqn,AgQnt.,.,.,.,,......,, ....,,
                           Con$Ultsntst,..,,.
                           Lggãl,Ad\¡lsêfs..
                           Tåx.Advlserb....,
                   2. A'dm¡njsrãtlve Expenee¡
                  t3. lnvestor ldentification :
                        Notiß€/Publghlng Approvad, Plan
                        Olälmânl ldÊnðffo€$on.....
                        Clãims. P,,roÇess¡ng...,.,.,.,.,,....,
                        Web Site Målnténãnc€/Cåll Oent6r.......,.,,
                   4. Fund Adminlst¡ator,Bond
                  5, Miscellaneous
                  8. FAIR                     Expenses
       ,tæ        I,âx Admlnlslratar FoBs. & Bonds Nol


       1rð                            to GourU0ther Not Pald by the Fund:
    't6a         I n ve   st m e n t Ex   WnsetlõRl$ F¡as
Une 16b           Fedaral Tsx Paj/¡,ênts


       17        ,&.State Tax

       18         ot Claims!
       18a       # of Õlalms Receìved Thts Røporling Fetiod.......,..,.             ¡.   ¡,.r   t !a...,'¡.'t       t¡..,.


       1,8b     # of Clafms Rect,tusd.Slnce lnæptlon of Fund....., "....
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       19å




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                            Case 3:17-cv-00223-RS Document 329 Filed 01/30/18 Page 22 of 55

                                                                I-,1'S4"TBIVAY LLC
                                                            Susan   f:.   Uesl¿a#, ßecg!1ig¡
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Long-Term Liqbililiop.

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Total LiebìlÍties                                                                              0.pq

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Turnsver i?.i¡nds                          $              5Ð,9,*g.l I
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Ti¡¡nsvor'to. SFR€                                  ,(    0o,o0o,oo)
N:et Ine,s¡i¿                                             l8lÚe4.ûü

'1is¡al espftÀl                                                                        l3l;63ú,911:

TûtÊl tr iabitltics &,Capital                                               $          131,r636.9f




                                               U¡audütsd - For Managem¿nt Ftr¡lssosc¡aiy
                    Case 3:17-cv-00223-RS Document 329 Filed 01/30/18 Page 23 of 55

                                                                                      Fagir I
                                                 L O,AÎEWAY LLC
                                              Susân L.. Uðglidr. &ec$vcr
                                                   IaÈórritÊ SlåtÊùriGitt
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                                          For Man4gernonl'Prgp, osç¡ Oh Iy
             Case 3:17-cv-00223-RS Document 329 Filed 01/30/18 Page 24 of 55

             ST.ANDARD{ZED FUND,ACCOUNTTNG BEFORT for CA Gold l\redet Rl csiv€rshtp.Câsh,Eatir
             Rgosiv rship:Civ¡l Couñ ease No, 3:l7,.ovro022lRÊ




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             lncre¡s-es ln Funcl Belanaù;
       2                    lneome                                                                        0.00                0r00
       3              and                                   lrom qs il                                    0r00                O:0û
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      't0                           for Rrcetvcroh¡F OperatlonË
      l.Aa                      to RacÉ.iugr       or. Othar Prþfegsl'onãrs
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               2. Litigauon Expènses
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      10f                       Fees a¿ri Sonds
      rag              Bnd:Sfátþ Tax Pdøents

      ll     Dlsburtements for Dist¡lbut¡on Expomes Fpjd þy                               Fund;
      1''a      Dl stdb.iti on Pl an Dsyelop¡nenf Exp.e¿ses;
                 l. Fi¡ÊS:
                       Fund Admlñ¡3tràtor,
                         lndbpendent Þktrlbuïon Con5ulråil (lDC),....,,..
                         Dldribuüon AgÊnt:...,..,,,........,,,.,.,.
                         GbneqftanG..,,.,.....r
                         Lag6l ACvlsÈrâ...,.
                      Tar A¡vlr.a¡s....,.,,
                 2. rMrñi nistrati\rg ÞrpenseJ
                 L Mìscellaneous
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      1lb       D¡etrìb-ulÌø n, P tan    m pl ëneîtadan Ëxpen$esl
                 l,   Fees:
                         Fund ¡\dmiriiötnitcr
                         Ioc.",.,...,,...... -..
                         Dl3.täbution Ag6nt.
                         Oonsultante... ,.....
                         Lagal Advllarer."..
                         Tax Advis€rs....,,"....,,,....
                2. AdminiFüEtive Expenses
                3. lnvestor ldonlinc4t¡on;
                        NotiÈe/Frrb{ishing Approved plah..,....
                        rolâimant ld€ntifc¡tion,...,,....,...-...
                        CÞimr Proceadlng
                        Wob Site tlilainlenanc€/Csll GGinl.r,.....
                4     Fur¡d Adr¡ln(Strator.Bond
                '5. MisilÊllsn€ous
                6; Fcderâl Account tor Investor Restitution




                                  to Còurtl0ther:
l:ine 12a      ,nuo.sl¡ront gxpÞns€s/oo            t¡ ti.   Reg¡sW I nv e st n   ê   nt
                      (e&8J Fees
     12b      .F*loþl       ?:sx Payniønla
             lotsl DldburË€mÊnti to Oburt/Othen
             Totil'Funds Olsbuned',(tlner I - l1):                                            3X477.65                33,277,65        33'2,7¡.8t,
     IB             Btlanos {Ar of Þeoerrber 3't,20,17)'

     1la       ëgsh & Cegh Eguive,ênts                                                    10,775,335:8ì1         1,5,776,33.6,81
Une 14b,       ,nvsslinents,
    1.4ç       Othdr Assete or Unctaa¡ed Fundç
           Case 3:17-cv-00223-RS Document 329 Filed 01/30/18 Page 25 of 55

            lot¡l     Endlng Bal¡nce oftFund                    -     ñ¡ot   As3et¡                        15,775,336.81      15,?75,335.81




                                  '/VOf   Io        Ee   F¡id hy.the Fund:
     t5                                                                                        N0t Påld by tR€
     158         Plan
                  L Fecs:
                        Fund Adm¡nlsmor,.. ......,            .....




                  2. Admínislætlv.e Er(pensÞs
                  3. MlEceltsneous

    15b          Plan lmplementelion.Expen¡¡es,Nol                       pa id by     he
                  1. Fees:.

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                       Conedhents...... ..,
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                  2. Adrhinibtt:ativb,Expanses
                 .3. lnve$ot ldeñtincåüon:
                       Notioo/Fuölishho ÀpÞmv¡}ctiptan.,......
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                       Wcb Sikt ltilaintcnrânqÊ/Csll.Ceilår....
                 {. Fund Àdrnlnlstrator Eond
                 L  Miscéllãneous
                 6, FAIR Rsporthg Expênsêõ

Lhe 15a                                                  Bo/¡óls lfvol


    tô                                                                          the.Fund:
    l6s.
    t6b      fuda/al Tax Peyrñgils                                                              t

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    f8       ot Clâ¡msi
   l8å       # of öla ime Rece,iyêd         llrls Reporlihg.Fetfsd,                 ..,.,,.-. ..,,   ...   ..
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            :of Clsf mants/lnvestorr j-
   lga      t4                                      'Pald rhts
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                             Case 3:17-cv-00223-RS Document 329 Filed 01/30/18 Page 26 of 55

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                                                           8us¡n' L. Ueöhóq Rèecíver
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Frqp-orty and EQuipm ont

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'Totd Other Assþts                                                                             0i00

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Tst¡al LisÞit{tíes                                                                15,780,309"30r

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                     Case 3:17-cv-00223-RS Document 329 Filed 01/30/18 Page 27 of 55

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'Total Expenses                             33;1,77'ß5.

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                                            FP r'   \4lnqgerment PUrposes,On ty
              Case 3:17-cv-00223-RS Document 329 Filed 01/30/18 Page 28 of 55

                STANDARDIZËD FlrNÐ ACCOUNTING REFORÍ'for Borkelery Healhcare Dynamlcg Recelvershlp-Cqsh Ba$is
                RecsivorÊh¡p Civil Court C6SB, No. 3:1 7-oç00220-R$
                                   Octob€r 1 'to December     20:'17

FUND


         1                       Balanco (As of0ctober           l,   201?l                                     +16.697:17
                                 ín Fund Balancþ:
         2               lncome                                                   210,000.00     210,000.00
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     5          Bu8lnees ÂFrot L¡quld¡üon
LIne 6                    Assel Uquldatlon
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       I                        Othêr
                  Ttt¡l Fundc Av¡tlabl'ti (Lfnea I           -   B)r              l{O,û00;00     2{q;0ooioo     û26,90t.l?
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       9                               to lnvætorl¡
       t0       Þisburêsmo¡ts lor Reca¡volrhlp O¡er.aüone
       l0a      D {sb u   t* fi e nt,s tp Rocelyer.   or Olftor profsssionals
     10b                              Expenses                                   200;250.60      200;?5¡.60
LIne 10c                  Assat Ex¡renses
Llne 10d        /avesfrrenl Expehsos
Linø l0.o                             Eipënses
                     1.
                    2, Utfgatlon €xpenoss


       t0f           Admlnìslntgr Faos and Eonds
       1W              ãrd Sl¡le trex Påymentt

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                     l.Fees,:
                              Fund Adminl6lralor
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                              Dli$iþution Ag6i1t.
                             .Col¡B.uttanþì,.,...
                          Leþai Advissr¡..,.
                          Tax Adv¡sêrB.,..,,
                     2. Adñrrlnlstratlve, E¡(penqesl
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                             Consullån|s....,. .
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                     2. Aclmlnlslîativs Expenses
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                             Clålms P(ocssshS.,.,,,.,,,..,.,,.,...,.
                             Wab SAs Matntensnco/Call ConÞr...,.
                    4. Fund Mrnlnlçt¡:ato¡ Bond
                    5, Micêellsnèoue
                    6. F€d6rdl Accor¡r!! for'lnvo$tor Reslildt¡on
                    (FAIR) Ropo{ing Expon$es



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                       Bdänce (As of Eecemü€r 3tr zol?lt
              Case 3:17-cv-00223-RS Document 329 Filed 01/30/18 Page 29 of 55


Llnå f¡t        Endlng,E¡¡tñðg ol Frind - Nel As9e{ifi
l;ine 14a          ôasñ& Cadñ'EgøÅrabnfs                                                                                    426i44:â,8'l         426.446,67
Lina 14b                 tnvestmenß
LJnc 14c              OlåorAs¡efs a( UnalêaÊd Fu¡ds
                  Totst E  ldlrc Bsl¡nçe,ot'Fund - Ne! Asqgts                                                               426'¡¡4€.67          426A4ø.67       426;¡t4õ.õ7


OTHERSU PPLEttlEt{TAL lN FORMATIOH¡
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LJnø 1.àa             Plan Dcvelopmont FxpcnsËs Nol Pald þy thaFunÆl:,
                       1, Fees:
                            'Fund
                                  Adminisfsù)rr,,. .... ...,




                                  Lêgår Advi!8rs.
                                  Ïàx Advlsèrs.,.
                         ;2, Admlnlitralive Exp6nsês
                         .3. Mlsce[enoous


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                                  Fund Adminiôtrilor,,..,,,,
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                                  Tax Advis€rs......
                         2. Admlnlstfative Ëxpen¡es
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                         4, Fund Adm,nletrator g!-nd
                         6, Mlsoellaneous
                         6. FAIR Reporüng Expense8

Une 15c                                                                                  Fatd by the Fuad


Llhe 16         Dlebu,rrementb to Cour,t Other Not;Fald by tlrêi Fund.
Llnd   1:6a           ,nvasÍî9nf Expe/,sec,40Â/8 Feas
l:lne't,6b           .Fedenl'Tax Paymcnts

Llna 17         DC   t.Staþ Tax Påymont!
Llne   lt       No. od Glalñ¡¡:
Llne tÛa:          # af Cþms Recelved This                         Repding Pertod..........
An6 18þ              I    cil e/ø/ns RÞctttugd Slnce lnceplîon ol Fund.,..., ...,,                                 ,
Llne l9         t{o, ol     Cf âtmantsrlnyerto?31
[,no tga             # Ol C|altn antsttnild/ støß Pa¡cl Thls Re Bo|dng Pe dod,. ... . ....... ....
Llne 19b             # af Ah fu antsll nwston, Pà ¡d. 9¡nca tncë ptloh of F und. ... ... -... .
                                                    Case 3:17-cv-00223-RS Document 329 Filed 01/30/18 Page 30 of 55


7:52AItf                                                                              Beikeley Healthear,e tlyhamiË, LLe
ot/16/t8                                                                                          General Ledger
Câsh Basls                                                                                       As ol lÞcember31,201.7

                        TYPe               Dab         Nuryr           t{Ð€                  Illemo                   Split        Debll          CrÞdll         Odglnal    A¡qu¡!     BdãnGe
            Ohecki ng/Sarings
   1 "! f Ð-O-'
                                                                                                                                                                                        416i697.17
        llr00'. Eà5{ Wæt Bank rrxx8923                                                                                                                                                  {16,697.17
        Check               1Wo2Jm17                                                                         63Ð00 . lrÌters,,.                      3,302-40              ,3,30?.40    413,394-77
        Cheek                         1U0ZlÐ17                                                               ,$PLIT-                                28,31031           -ä310.31         185,084.4{¡
        D€posit                       1WO4fæ17                                           Oeposit             12009.     Unde...     70.000.00                              70,000.00    455,084-46
        Check                         10/ßru17        1073     Alarne@ County T...       votD PÞr Sû..-      60000.     Prope*                                                          ç55,084.46
        thêõk                         1pl1em17        r076     Alarneda GourÊy .. f      volD pef Su...      6:m00.     FrcFe.^.
                                                                                                                                                                                        t55,084.ee
        Gheck                         1U131Ð17        1074     Alam.éda County T...      VOlD Béf Su..-      60000.     Prope...                                                        455.04n 46
        Check                         ß12412817       1076     Françh¡se Ta¡ Bqard       20f6 FTB    Ba..-   89000'Ta:<es                                                               +,.56,084.4S
        Ohgsk                         r012412Q11      1t77     Fãnêh¡si Tâxts¡lard       201 6   FTB Ea.-    890O0. Tl¡xes                                                              r55,084,4€
        Chêck                         l1l01lÐt7                                                              63000. lr¡tere..                       3,190.86            -3,190.8ô       +51.89s.60
        Ch€d(                         l1nlmfi                                            Funds Transler      -sPLtl-                               27,656-80           r27,668¡80       {24,%ßA
        Deposit                       11rcl/?úl7                                         Beposit             lz0trl .Unöe.-.        70"900-00                           70,000.00       {fi,æ9.8O
        Check                         1110?12017      fo78     FraRcir'lse Tax tsoãrd    2016 FTBfor,-.      39000. Tâe€                               800.00             -s00.ûã       +93.¡'2650
        Chêcfr                        111291Ã17       1079     ONA lnzurance                                 53000' lnsur,,.                       40,55t00            -40555.00        qt2187130
        chd                           12101norÌ                                                              09000' ¡ntere*.                         3i185.-85          -3¡185-85       {49,685,95
        thed(                         æn'tm17                                            Funds Trar-rsle¡    .gPLIT-                               ?8,0s.86            -28 03L8ô        {2'1,631.0S
        Bill Fml-Ch'eck               1ÐO1r¿Ð17       1080     Àlamelg Counly T,r,                           28100Q   -Aecs.-                      60i476.(5           -60,476.45       361,154-64
                       lãgllæ'Mo81
         BíllP¡rTt.Chock                                       A¡¡¡mêdà CouÍtty   T.-                        2O000 -    Acco...                      3,113_85              €"t't3.85    358i040.79
         BiÍ Pmt-Check fttïilW17 1.09U                         Alameda-County T_.                            20000'Asæ-..                            1:594.n               .1,594;2     ¡56.446.57
         Déposit       1AW28l7                                                           DÈÐós¡t             120,00. Unde-..        70,000;00                              70,000.00    +29,44857
       Total 1l t00        .   East WesJ Bank modgæ                                                                                210,000.00     200,-250.60                           +æ,4Æ.57
       11 I 10 - Easr West Bink TxZSAO [P)                                                                                                                                                      0.00
       Tot¿l f I110 ' Eêsl Wesr Bank þqÉ983 {LP)                                                                                                                                                0.00
        llfÐ0      - CtrdêkfngfSárings.r Olhar                                                                                                                                                  0.00
       Total      1 100O' ChectinVSavings' - OÌhei                                                                                                                                              0.00
  TsJal t'1000 . ËhectinglSavings                                                                                                  210;00O.0O     .2O0t250.60                           [t6i446.57
   11üÌ1 . Ao¡t¡ur¡ts           F€cÊhdle                                                                                                                                                      0.00
        Pay.menl                      101fÉt2017     ACH       NAAPLLLG                                      1?000. Unare..         70,000-o0                          -7O,000.00        ?0,000.0o
        Pã)rrn€nt                     TUrø/2ß17      ACTI      NÀSPLLLC                                      12000. Unde.-.                        7û"000.00           -70,000.00             0.00
        Paymont                       111A6t201V               NA3PL   U.0                                   12000    ' Unde...                    70,000.û0           -70,m0.00        -zo.ooo.o0
        Payfnefl                      111æt2017                ñA3PL U-C                                     12000' Und€-..         70,000.00                          -7o,Qq0.00             0-00
        Payrnènl                      1?/e6f¿9.17              NA3PL LLC                                     1æ00.      Und€...                    7ô.000.û0           Ì0,000.00        -70i{þ0.0o
        Paym€nl                       1aæp:017                 NAsPt LLC                                     12000, Uilde.".        70,000.00                          .70,00(t00               0.00
  Total 11001 - Aabdints Rèoeivable                                                                                                210,000.00     210,000.00                                    0.00
   1lzl{Xt. fÞpostls                                                                                                                                                                      7,600.00
        11410 ' Acc'ountant Deposil                                                                                                                                                       7;500.0û
        Generål         Joumal
                             1'lngm17                99        Haynis & Go¡npany                             88100 'Acco..-                         5,320.00               -5,320.00      2,1E0.00
       Totd 11410' Acæunlañt Deposlt                                                                                                       0,00     5,320.00                              2,'t80¡00
       11420. Lêgd Deposil                                                                                                                                                                      0,00
       Tótal T.ì420 - Lqgöl D.eppsít                                                                                                                                                            0.00

                                                                                                                                                                                           Psgs   I
             Case 3:17-cv-00223-RS Document 329 Filed 01/30/18 Page 31 of 55


              STANDARÐ|ZED FUND,ACCOUNTING REPORT for Comprihensive ôere of Oakland Rgcelvêrship-cãóh Basis
                        Glvll Court Oa$e No, 3:17.cv-00223:RS
                              o9tobsr 1 to De.eernb€r 31 2017



                                 B¡l¡nc9 (Ar of Octobrr lt, aÛllvl
              lncrugses ln Fund Balanca;
       2      Bu¡lno¡o lnoomo                                                                            3.604,706.97     3,0ô4.79ô.97
Llhe 3,                SÞcuritle!.^dru3tment¡ to À/R end OrS                                                     0.00              0-00
Llno ¡t                        lnoome                                                                            3r'qg            3{.53
       $:     Buslnesl AaE€t Llguldatlon
       6               Asset L¡quldåtloñ
Llne 7                   LlHgation lncorne
       8,                   - Otho¡
               Tótil Fund¡ Àvalf¡Þlô;(Utpt t                         - tl:                               q;6ot,8¡8,50:    3it8d828.80      0,308,090.0t
              Elecrsases,ln Fund Eelance:
      I       DlsbulËcmênt' to lirv€storB,
      l0
      lQa
      t0b.                              E{pürrsôs,                                                       '8.810.101.33    3,610,101;33
      10c     Po¡sonal Asse'f          A(pensrs
      fid     fnvosløell Fxpe4scg
      t0e     Th hd. F a ûy,' Ll tlg a:tion      Exporsûs
                  1. Attorriey Fees

                                                               ,ExDtt sùs

      1'0f    fax Aúty7r,h,strafor Facs and Bsndt.
      log     Fedenl ancl Slare fax PÊy,monts

      11                                .for Dl¡tribution Expenaee Pald by the
Line 11a             Dlet¡¡butlon Pta n teve:lopmonl: Éxprn:r6s..
                      1. Fo€.s:
                           Fund Adrilinlrtftrtor:
                           lndependenl Djiblbution ,6ongu[ant (lOC)".                    -.   .,..,.,
                           Distribution Ag€nt..........,...........
                             Gonsr¡ltanb,...,..,       ,

                             Legal. Advlsers...            .

                             Tax A¿h¡lsêrs.      .. . ,.
                      ¿. Aatrn¡nistîatív6 ExÞenses
                      3; Mldcsllanèous.


Llne. 11.b           D¡9trlbutlon Pldn         lñ pletnêntaliön &gense&'
                      1. Feesr
                             Fuûd,AdmlliiÈ¡ra-tor,,..,,.., ....,....,.,.
                             tÐc.,....,.,.,",.,,..
                             D¡strtbuüoñ A99nt,,.,.,......-.,...,,,..
                             Consu{iants,..,.,,
                             Legal Aclvlúêrs,..        ,

                             Taf Mvlsers...",.
                     2, Adrn lnÍstreTive Expensas
                     3, lnvsstor ldentlffcstion:
                                                                    Plen,., ,.....,...

                             Clåirng ProossFlnS,,...,,,.,... ......,...,
                             W€b   Si.lS.   Malntênancs/taü Oênter.,,..,...,,........,,.,,,        -
                     4, Fuod Admlnislfatof 'Bond
                     '5.
                           Mlgc€llaneous,
                     6. Fôdorâl Account for lnvestor Reslitutlon (FAIR)
                     Rqpor{ng Expsnses



     1Z                           to Couruotho¡:
     t'2a        I   nw stmen:t, Expnsa slcou ñ Roçiislry I nvf, strn ønì
                     fCRÐ Feês
    tzb          FsdoF,l TaxPamients.
              Ïotal Dlcbur.tol¡entc to CourUóther¡
              Tote¡ Fundo Etðburred,(Llneo g                         -   I't):,                         3J610,10r1,30    0,0r0,101t33     3,ô10,101.38
     f3                    Ealtnbó (¡ls of Decernbor 31,2O171:
             Case 3:17-cv-00223-RS Document 329 Filed 01/30/18 Page 32 of 55


Ltng 14      gnülng g8l¡nÈs of F¡¡nd - Not,ÀÈr9.tt!
Lina 14a        Aash & êask Equivalanls                                                        e,788,558,74    2J84,q58.?4
Lhe 14b                ,nvostmorts
Une    lúc      Olfierlssefs or Uneleand Funds
               Totsl Endfng Bbl¡noe .ot'Fund - NotAs¡et¡                                       e7ås¡558..74    2J8g.S6å,74


OTHER SUPPI-ETIEifÍAL INFORMATION                              J

                                                                                                                                  cfând   fbt¡l
             Rþþotl ol ltømûf/ol 1o 8o Potd by tha Fund:
Llne l6      DlsbuÉementr for Plan Admlnbhat¡on Erpentes i.lot told,by'the:
Una l5a         Plan Devolom¡antÊxponsos Not Paid þythø Fund:
                 1.. Feei:
                             Fuñd Admiríistâtor.,,,.,........,.....,,,
                             lDc'......,..",,..".,.,,
                             OlstrlþtJl¡.on Agsnt.


                             Lpgal:Advlg6r8r.-.. ..-
                             Tax.Advlsers.,....
                        2..Adrnhlstratívs .EÏpênse.s
                        3: Miscollaneoue
                                                                                       lhs
Llna 15b




                             Legal.Advlitfif3;,,. ,
                             faxl{dvlÈins..,,.,
                        z,.AdmÌnistratlve Expsnses
                        3i lnvestor ldenfincaüorù:
                             NotluoiFuuliohii,lg Approved Flan     ,
                                                                       , .,   .
                             oHm¡üulftl¡fÌçetlon:......,..,,,,,,.,,,.,,,,.,
                             çlålma PrppEt$ng,,.
                             Wob Slb- ¡rTrlntónÊr'rô€10â!i         tènþr.,,
                        4, Fund Adrnlnlçtr6tor'Bond
                        5i Miscsla!ìqous
                        6. FAIR Roporling Exponsee

Llne f56                   .Adm ln I ÈEãto i F èes 8. 8ond,c IVof                 by    Fund


[ihe 18      ElsbußcmenB to Gsurt/Othe¡ iNot.p¡¡d b!r'tþ Fundj
Llnø 16a        I we stme n t F¿<pen¡es¡tRtS Fses
                   .



Lino 16b               Fede¡sl 7.ax Faymoqts

l,,rlno 17

Llne f8      No.       of'olalms;
Ana l.8a               # cif ,Abims Sagerved f,hiS Fapqrtlng:Førl{,,....
Une 18þ.         #ofQl¡rimsRec€/vedSlasc tnæplionîjf Fund,¡.,.,....,!;¡::¡,r.¡j,À1*,;.,,.,....i...
Llne lÉ      l{o. of Glalmant¡/lnve¡tol¡:
Llno lga           # Af Claímantsy'lrwcs;tørs Paid Tlits Reþrlìnþ'Peri@,
Una l9b            # of'O/eiùnan&lByesto,rs Paü! glnôa: lnoðøllori ol Fund. . ..




       f                                                Item                                                                   t{obr
                                                                                                                                       over
                                                                                                              êhanggd qffgr a e.¡{smal rev¡ow rêvo¿lêd that
                                                                                                              accou¡ls rocoivablo and bank roconclllaf¡one
                                                                                                              needed to be updgted.




                                                                                                                              I

                                                                                                              t *          ty
                                Case 3:17-cv-00223-RS Document 329 Filed 01/30/18 Page 33 of 55
Coûprehensive Carc of Oakland, [P dba BayArea ]lealthc¡re Car¡ter

                                                                 Sumnilt.Banh . Piyroll Actount 10472
                                                                                                                      lilllthdrar¡ûal
                                                                                                        ÂrllOUñt          l\mouna               0olance
    Ê¡n,( Þate      Ret ¡,                 I
     09t48/¡7                                                      Çl9d(                                                           130.tî              ,s4
                                                                                                                                                47,032.38
              7     1410        Employs6                    Pâyrôll Check                                                    1,¡145'58

     1010ðr17                   iranslsl                    ûånsfqrûprn: DDA f20!g00l L                 ??2.502{D                              269,591.36
     1U1At17                    Dlrec,t Dqposit Payroll     6COO PR 804044044 CCOO                                       215,51 1 .41           õ4;082.95
                                                                                                                           '1,152.62            'ð2;930,S0
     1gl11r1X       1121        Ernptoye.Ë                  Fayroll Ohsc¡k
     1At11117       1422        Empiôyee                    Påyroll Chêck                                                    't,102.30          õ1,767.94
     1O/11t17       1125        Employe€                    Payroll Chect                                                    1;012.22           50,766.72
     10t11r17       1429        Employee                    Payroll Cteck                                                          385.05       .30,370.67
     10t12t17       1424                                            Çh€dk                                                          u46,91            ¿3.7S

     10t1;8t17      14.1s        Employs€                           Cheok
     10/16n7        f426         Employee                   Payroll ChÊok                                                    1,426.14           47,594.56
                                                            Fayroll Oheok                                                          146,32       47 i4,48.28
     1U1gl17        141 1        Employ€e
     1ßt1gt17       1423         Employee                   Payroll Chsot                                                    1     ,130.91      46,317.36
                    1427         Employe€                   Payrcill Gheck                                                         445,:44      45,871.S1
     10/19/17
     10t2gt1?                   TrartslÞt                   Trån8ler   hoir DDA    120038Ð11            229,067.00                             274t038.91

     10t25t17                   Dlrêct Deposil Payroll'     ccoo    PR      to-û844044   CCOO                             218,756.72            .68,182.19

     10t28:/17      1¿130        Employeè                   Fayroll Dhec*                                                    1;182,39           5S;019.80
     10126/17       1432         EmÞloye€                   Psyroll Check                                                    1,470180           53,540.00'

     10t26t17       1438         Emplqyêg                   Payroll Çheck                                                          5S,l ,14     €2;967.86
     10tz:il17       1420        Employee                   Payroll Check                                                    "'t   ,241,73      6t,716.'13
     1,Ot2Vt17      14e8         Employs€                   Payroll Check.                                                   1,241 ,73          50.474.40
                                                            Payro¡l Check                                                          76S.40       4e,705,00
     10t2711:t       f433        Ër¡ployee
                                                            Påyroll Chsck                                                    1.,912.22          ,t8,692.78
     1U27t17        1434         Employso
                     1436        EmplDyBe                   Poyroll Chock                                                    1',241.73          4?¡45'1.06
     1012il17
     ßmn7                        ,Dlrsct Deporit,Payroll    ccooPR,80"0644044            CCOO                                f.i{7e,90          46.278.46
                     l4s7                                   Fayroll Check                                                    1,517.E4           .¡f4,760.6'2
     r0/30/l 7                   Employ€e
     10t30t17                     Diroel Fj€pos¡t Pãyroll   ccoo pR80-0644041            COOO                                      ø62.?8       44,.10?,84
                                                                                                                              1                 42;976.
     10/31/17        1   431
                                                                                                                                                ¡t1,561;82
     1       I't7    1435        EmplÞy6€                   Payroll Ghûck                                                    1,415.11
                                                            TrâßËr     trom,   DDA 12009S013            '250;000.00                            294,561.82
     1   1/09/17                 Trancfer'
     11t40117                    Direet gepoeit'Payroll     ccoo       PR   XX-XXXXXXX ccoo                               243,271.44            481290,38
     '11t13t1'l      1t441       Employee                   Payrotl Gheck                                                     1.029.92           47,260,48
      11t13ti7       1443        Employse                   Payrollcheck                                                        7W.16            46,556.30
     11/f 3/1,7      14i&        Employee                   Payiqll Chodk                                                     1,Q1222            45i544.08,

     1'111.4117      f440        Employee                   Payroll Gheck                                                     1,102,39          ¡1,4i381.60

     11114117        1442        ErnplDyôo                  Payroll Cäeõk                                                     1,36r ,18         43,û20.€0
      11.t16t17      14.{6                                                                                                         1   39191    42i880.5S
     '17t20t17       14'45       Employee                                                                                     1,:21i1.73         *1,638.86
                                 Dlreot Oepostl Pâyloll     CCOOPR:80-06440¡14 CCOÔ                                       237,561.1A           (1i9ü;922.26)
     11.122t17
     fi,na1t7                    Tr'e.nefer                 Tranete¡ ftsm DDA 120038013                 96û,000.00                               54,0n.72
      11t24t11       1462        Employoe                   Payr!'ll Chech                                                          928.64       53,119.08
      11t27t17       1451        Employee                   Fayroll Chack                                                     1.652.76           5l,496.32
     11t2Ìt1I        1459        Employee                   Payroll Chêck                                                       788,96           50,707;36
      11t27t17       14â1        Employ€€                   Fãyrpll Check                                                     1i071.62           4S,635.74.
     1'1tL't117                  Dlroet Doposi! Payroll     ccooPR 80'06440fi cooo                                            1,200.15           48,435.3S
      11t25117       1447        Ernplòyoe                  Payroll Check                                                     1,28ð:13           47,147..46
                                                            Payroll Ghook                                                      '1,173,25         45,*74.21
      11t28117       1456        Employoe
     't1t50t17       1449                                           Chêck
                                                                                                                              1,2õ0.81           ¡14,?60;15
      12tA1n7        1

     12tMt17         1460        Employee                    Peyroll Check                                                          868.56       €,39-9.,5S
     1?J07n7         1¡139       Ernployoe                   Payrqll Check                                                    1.,170,40          42'¿29,19
      121ÛNj7                    Dlrêct Depo$h Påyroil       ocoo FR 80-06140á4 CCOO                                      251,289,1:l          (209,06e.9s)
      12108t17                   Qireot Qøposit Payroll      ccoo      PR   0G0644044 ccoo                                     1p82.87         (21i0;312,86)

      12108147.                                              Transfårf¡qm DDA f S003¡sit       3        270,000,00                               õ9i657,,r    5:

      12111t17       1462        EmFloyas                    Payroll Check                                                    1.018,13           58:639.02
      ,lzt11l't7     1405        Emptùyêo                    Payroll Ched(                                                          8Ë6.50       6r.,712,46
      12t11t17.      1466        Employee,                   Päyrolf Chack                                                    1t005.80           5Ê,676-86
                                                                                                                              ,t,102.39          5'5r514.27
      1A1tu17            1469    Empþy€€                     PaYroll Cltocl(
      12t12t17       1483        Employos                    Fayroli Check                                                       265,20          55,24S.07
      12t12/17       14VO        Employ6e,                   Payroll ChÐc¡(                                                    1,0ã6i34          5¡,18e.7t
      1il19J17       1172        Empiôyeâ                    Payroll Checlr                                                    1,130;26          63;052,48

                                                                 Summ¡t gsrtk - Psyroll Account ¡r@72
                          Case 3:17-cv-00223-RS Document 329 Filed 01/30/18 Page 34 of 55
                                                          sinñrnlt Banh. Fryroll Aorount'¡(0472

B.il¡k   O¡ltc   ßef å                 Pe                                                           Aûiortrll      Arnot¡n¡            $al¿nce
 19.11*ll7                                                                                              738.26
                                                                SorE                                                          '        388,?ð8.73
 1u2u17          14ö't     Employee                 Payr'oll                                                -         1,0311¡65 381'753'10
 12tmfi                    Dlrect Dcporll Payrsll   ccoo       PR 8Õ'06*4044    oo00                        -      323,4f   2,90        64,,840,20
 r2t2ü17         1456      EmFloygo                 Payroll.ohoclt                                          -         1,e00,f5 60''140;0$
 12i2ç117        14t4      Empleyeê                 Pay,dlOheck                                             -         :t ,6¡t8i63 Elïõgit ,42

 1U26t17         1rt68'    Ernplôye6                Pey'fþtl:chsôk                                          -             78E.9ð :80,802.46
 12t2ßt17        147ö      Emplqyse                 Peyrolt Cfi€aK                                          -         1,692.95          5C.¿09rS1

 1A2øt17         147õ      EmÞioyae                 Feyroll Qhecl(                                          -         1.192       ?O    58,0f 6.75
 12f'f,117       ß7A       Etnplpyqo                P¡yrqll.Ohsçk                                           -         1,þ.12,22         t7;004:53
 1zEAt17         1460      Êmployoe                 Fayroll Ghook                                           -           090;77          æ,alo;70
 vrztst17        1461      Employee                 Fa'yröll Check                                          .         1'41;,4,78        641898:98
 12125t17        1460      Ëmplolce                 Paymil Cnech                                            -           94434'          5'A,95tl'64
 flnsn7          1414      Ëmployse                 FayTollÇheÊh                                            '         1.7S2.0q          52'102;55
                                                                       Guirsnt Porlod Subtot¡lt
                                                                                                        (736:?5)
                                                                                                   1,65€,629,00




                                                          .Summlt Bãnß - Pðyrdjl Àccount x0,472.
                          Case 3:17-cv-00223-RS Document 329 Filed 01/30/18 Page 35 of 55
mprêhGngye Cåre of Oafland, LP:dbe Eay Area lleslthc¡re.C¿nter


                                                        Sq.rnmlt Etnlf - SaViñSF.Ac6ount     x/tt97

 ßank   D¿te   Bef   il   P¡yÉil                        üelcri¡rtìorl                                   Arlìcur't    Anìount    tl.r¡ôncc




                                                      lñtèr€ft Deporlt                                     3t".53:             250]'210i3¿
                                                                        Çurren! Pstlod   S   ublot¡ls      3¡-5û               ¿50¿i0.¡'?




                                                         Summlt Bânlt - Savlngi Ac0ount:x¿ü¡g?
                                Case 3:17-cv-00223-RS Document 329 Filed 01/30/18 Page 36 of 55
'€omprehentlys,€arasl;ôakl¡nd,            ll   db¡ B¡y,Are¡ He¡hhc¡re Ccntcr

                                                                            Sumtillt Eark   ' OpenÜng Aloount r801t

    Sarlk    nefÊ   Ër.t   ll    Þ;ryee   f    Payar                   f)r,scrll)tlor1                                        A¡¡tf,rtn I     Affounl          B.ì   lirnrr.
    0st29117                                                          CA DHC,S MEOI'CAL TRNI'Ð606$6S93'1 880217
    10raz17         ,5e01        G'.&rS Fl¡ê ProtèG{lon,     lrit.    Gheak                                                                       93,00      2;á36100,1.84

     1Aß2t1V'       6331         G'& sl Fire P¡otee;tlejn*   lnc,     Ch€iel                                                                      95r00      2,434,SS6.S4
     1ollu17                     IR8                                  IRg USATAXPYMT 27070728032t3S7 OOMPREHEN                                0s,0õs.t7      s,9416.0s6.57

     10t02117                    EDD                                  EMPLOYMENT IIEVËL.EDÞ EFTPMT TOIO1OI 12                                  13,717;¿8     2;992,9{t.29
     10t02117                    Êlonds                               HoNDAPMT8002058235 7010¿i59S36Sg' sH¡                                      46'r,01     2;{lÍ11;861åi
     10to9117                    D€posit                                  MERCHAÑT BANKCDDËPOSITU660052S5883                     2,632;0?                    2;334.493.30
     10/03/lr       5070         Shirley Ma                               chedk                                                                  474,û1,     ?"0$4¡018.69
     l0/03117       s980         Flenry,ç. ¡"n,                           Check-20't7.18u,nsecproptax                                         32,678;86      9,3.01,439.&3
     10t9cl.1v                   D6po8it.                                 Regulsr D€Pos¡t                                     273,186,eT                     2',814;829,10
     t0/08/17                    Fess;                                    I\iIERCHANT BANKCD FÊ8,296005295883 BAY                                 ,51,21     2,574¡674,89
     10f03/17                    Deposit                                  Regular Depoßlt                                              P.00                  2,574,676.89
     10103/17                    Feos                                     MERCHANT8ANKCD DISÛOUNT266005295883                                      Z5,AZ     2,6t4i5ã1.47
     10la3tfl                    Dpposll                                  KAISER FSlilNOArlO TRN'l*00000e9000490r10t1            2,438,7Q                    2i57-8;99-0117

     10t,03t17                   Fèês                                     MERCHANT BANKOD INTERçHNG'266006295&83                                   24,86     2i576i965,31
     10t03117                    Deþosir                                  MERCHANTBAÑKCD DEPOS|Í268O05296889                     1,31,9:00                   2i578.284.31
     10103/17                    Fees,                                    AUTHNË-r GATEWAYEILLING Ú8440849                                          i.no     2,578,2783A
     4A104l/17,     5352'        ÞATASAFE, lhc,                           Cheok:                                                                   84;00     ?;578,:192.38
     1   0[0d/17    5368         Notwofi Thomp¡csi        lnc,.           Chêck                                                                s4,116.72     2,523;77gi64
     10t94i11                    IRS                                      IRS UEATAXPYMT 2707ûTN'Ë1406?7 COMPREHEN                                404.&+      2,523i371 :80
                                                                                                                                                             :2,523.06f.,46
     ,tor04/17                   lRS                                      IRS USAT¡"VPYMT 2?q767730616357 COI4PREt{EN                             ?10,35
     1AlQ4t'.l7                  Þepo¡lt                                  NORIOIANJEA TRNï1r8FT8640621.146017                    ¿,908,01                    :2,625¿69.46
     1An+|17                     EDD                                      EMPLOYMEI{T DËVEL EDO EFTPMT2026913664                                   2S,86      2,525',239i90
     10ß5117        õ34C         Airgas USA,    LLC                       Ch€ck                                                                   175,98     :?,524,463:92

     10/0¡t17       636?         Krlsor Permanontg                        Checx                                                                 1,272.4t     ;2.523,19:l:49
     1'0/!5/17      6384         PG'&E                                    GheS<                                                                10,696.69     2,6'12i186:,80

     1   0/05/17                 EDD,                                     EMPLOYMENTDS/ELEDDEFTFMT               1922432896                     2,1ð9.69     a5,10,337,21
     10106/T7       58¡t8        Bay Janltori¡ii SupplY, inc.             Chèsk                                                                 1;174.87     ti,5o9¡163:34
     10/00/17       634S         Blue shlêld of Galifomla                 ohock                                                                   4?V.22'     2.508,735.12
     1UAgtfi        s85r         Cs.mmunity Mobile Qlagnostics       l!   Check                                                                 1,909'!4     r2,509,92s.7E
     1:0/06i/17     5364         ,DiãgnoitldLsb¡il'stôrlesSL               Çneck                                                                4,973.50     2,02,4523;8
     1,0/06/17      õ355         DnEcrV                                   :Chéék                                                                  1Q7.24
                                                                                                                                                   .g7,Qg
                                                                                                                                                             2,502.945;04
     1ol0gl17        sssr        GiobatOapadly                            Check                                                                              2iõ02:,2]48,02
     10/00717        5358        Hoâtth. Net Ino                          ÇhQPk                                                                   4N8.24     ;2,501,F29,78
     10t06t."17      6363        LardB Nböls sr.                          rcheok - rnueia 091617                                                   50.00     e,501,7?9:tg
     10/oi|117       5304        Mãrlna Mèchanlcal                        Check',repslls,                                                       2,144,28     2''499;035r6{
     10/66117        6376                                   lnc Ohecft
                                 Schrador's lradii¡al Sr¡pply                                                                                   6,42,4.û7    2,493i211         ."*3

     10/06/17        537'8       Smaúlinx Soluf¡ons  LLC        ,Choc*                                                                            ð57.€0     2,4C2"0*59;83
     10/0ry17        s380        Ka¡ser Pðrmanente               Oheck                                                                            432,?6     2:r4þ1,92f ,47
     10/06/17        6381        Kai8o¡ Êermanente               ohÊck                                                                            366.?4     ,2,401r55ði73
     1',0/06/17      538¿        .Amsrioan Heqllhleoh,, lnc:     Ghgdl                                                                            889.03     '?.490,,566.70
     10106/17        53831       Kâlsor Pèrmtnente              rohgsk                                                                             86.00     à,+90.+so.zo
     10/06/1,7       53S5        Sysco San Frshcísos, lnc.       Cheûk                                                                          $i0s8.41     2,485,082,29
     10/06/17        t390         SUSAN        L   UECKER, RECEIVEF GhEeK.ìFEES.& COSIS,           FOT OTdET                                   nil44,,0o      2,482,838:2S
     1,0J0-g1T                   Ttcnsfsr
                                 'Ddposit
                                                                          Trã¡sf€ñhÐD¡,l2tÚ1Ð412                                              8æ5ð2.00       .2,24OP76,29
     '1ot06t1v                                                             NORIÞ|AN    JEA    TRNb1rEFT8842E06'146017               '6s5.19                  ,2,240i911;48
      1i.ot1ot.17    50¡17       AllKlsen Solutlons,     LLC              :Chsck                                                                1,324"17     :2,239,687,31,
      li.þßat17      6366         Elisa   Mar                             Ohesk                                                                   s34.06     2,239:,253r26
      1Q/10/17       5359                     Mgmt
                                 JO-S [4edWaste                           Check                                                                 1i900,00     2,3.37;353:26
      10t10t17       5€65        Mlch¡el Chau                             0hsok                                                                   s26,?8     2.236,826.98
     1011{1117       5373        'Rosl8 Wallin                            Chagk "?ÛlS medlcars RepQrte Prep                                     6,500,00     2f¿30i9¿6.98
     10/10/17        6377         SlmpleLlQ,.hc,                          Check                                                                     B?,00    2,270,244.s8
      10t1017        537S        YP                                       Chçck                                                                    :37.00,   2.290,2A7.M
      10110'H7       6421        Ëlisa Ms                                 0hech                                                                   3?4,01     2,229,8û3:97
      10t10117                    Deposlt                                 I(AISER FOTJNOATIQ ÍRN'1!9001)0250005004ã'1          ,s5;766.00                    2,3â6rG49.97
     1Cl/I 0/17                   oeposir                                 l(AlsER FOUNDATfO TRNìt',0000025O0050284f1                850.00                   2,328.499.9?
      10riat.17                   Deposit                                 NOR|1DAN     JEA
                                                                                       TRN'1tEFTS6j2g42ri46O1V                      472. 2                   ?'3'.q.5v2.?s
     10/t0l1r                    Feês                                     PAYMENÏõERVI EBILLINGfEECKF218443508P                                     1.q5     2i326i907.04
     1an1r1t         õ963        Dapl of Heglth,Oare       9orvloes       Oheck                                                                .39t{7.40     2&61,21.9,*
     |W\',U17'.      5370         Publlc      slorago                     Cheok - 'Oct 2017                                                       143.00     2,287j,Oil6,A


                                                                            Sr¡mmlt   lanl - opersÍng   Accaunt f8013
                           Case 3:17-cv-00223-RS Document 329 Filed 01/30/18 Page 37 of 55
                                                     Sümñ¡t Btñk - OÞeroüng AúoÚntx8ol3,
                                                                                                              Irvlthdr¡uãl
Barlk   Þûtr-.   nef   H                                                                           Arnrounl     /ìnlor¡Ùt     B¡laltce
1.0111/17 6374              Samlr Ss¡râm MD, lno   ehsak - Sept 2017                                              1,000.00   2.28â,078,94
1Ot11/1V 53Eg     WENDELROSEN ;Check-Foês,&.Cost¡,F€rorder                                                 24,510.40 ¿,261,.666'5¡¡
 fi111t17 8408    Shidey Ma                      Check - 2017-18 unsec prop                                 0,307.88 2,268,268.66
1CIt\1t17' ö4'13 ShirlsyrMa                      Chect¡                                                     6;600,31 8,e5t.664.C6
 1O!11t17         Deposlt                        MEROHANT BANKGD DEPO9IT 266006¿0688S           1'1600'00'             2,25 ,152.05
1l0t12t11 5369 PNG EqulBmsnt Finanõ€ï LLC, Oheok ..20'17 po.rsonal prop ,tax                         -         693'91 2,252,488,44
 10t12t17 5371 RÐs for Þtgulthasr€               Cheet                                                          07,00 2,¿69,361.44
1,O11U17 5400 llarbor Esyclub                    ChEõk
                                                         '.OB-0f
                                                                 t 7,0901 7
                                                                          1                          -         252.00  2,2á2,)04:.44.
 i}tlU1? 5422 PETTY CASH                         Choclt                                              -      2;A27.38 2,26a,o77.O6:
1;.0t12t17        DÊposit                        Regular Deþo¡it                              91,A91,72                2,941,70õ'78
 1W12t17          Depostr                        NpRIOTAN JËA ÏRM1"EF[E646155'145017 59,062,2e                    -    2,400,821,00
$t1gt1V' 5SB? ,Omege Pâct Corttrs!, lno.         Chgçk                                               -          71,00 2,400,746'00
1;Ol1Ct17 5372 Rodney M. Fukurnltsu              GheS¡(                                              -         450ì00 2,400,296,00
 10113¡17 5414 À¡nerloan Expr€ss x1t006 Oheck                                                              81,383,0& 2,319,9;:12$2
 l}/jgll?         IRS                            IRS U'SATÆ(FYMT a?0708681898770 COMFREHEN           -     80'908,87' 2,238i004'Q5
10fi3117          EDD                            EivlFtQyMENT DE\ÍÉL EDD EFTPMT 1ô93124224 .         "     12,133.2S 4225,8?0.79
1016t1V .S107 - Schradof s Mseflcal Supply lnc Gheck
                                                                                                                                              ,
                                                                                                     -        :339;00 e'?25t531.?9
 't}l'16t17 54Og Wàste ManÉgpment of Alamedq Check                                                   -      S,p61.Bg 2,220,1ô9.91
 10116117 &23 Max Huang                          Cheak. Retlremêht                                   -         690.00 2'¿19r860i9'l
 1};t1gt1?        Deposit                        CA DHCS MÉDI-CAL TRN'1'0505'/3757'1ô8021? 190,852.00             -    2,440,521.91
10/16/17          Deposft                        NORIDTAN JEA TRN"f 'EFT8647361'145017 13,832.55                  -    2,424:3ã4.46
 10t17t17 5398 Chubþ & Son                       Chsck - PoJlcy Jul 15, 201,7'to Jul 16, 2018        -      f ,8 0.75 2,41t9;467 j       .V

 1OIM1V 6309 EBMUO                               Cheak                                               .      6;942,80 2í1:3,1614,91
'1ol1i?t17 s01 lnPm Corporation                  Gheok                                               '         142'14 2,4118,37e'17
 10t.17/17 5402 .JUdyWongRN                      Oheck-9/2/17"9i10/l726125hrs;9/i6/174/30i1?'36h -          3,112:50 2;41O;28O.27
 10117t1v 5406 SËn Francisoo Chronlclo, Oheçk                                                        -         171,90 2,410,088.67
10n'n17 5411 S,yrcorsan Franalsgicù, lno. Chock.Sspt &Oct20{7                                        -      4¡968'33 2i40ã,120,34
 1Ot18117 5415 Necifünds Byhleopost              Cheqk                                               .          43;37 ¿f06,078.97
 10/18/f 7        Depot¡l                         NORIÐIAN.JEA IRN'1'8FT8649228'14õ0'17 41.i{16.71                -    2,4461493,68
 10t1glt7         oêporìt                         MERqFTAÑT BANKôD'DEFO$IT ¿66005?958S3         2.020:00          -    2i¡t¡t8,513.68,
 ßt19l1v 6121 OENTÕNS US LIP                     Check -Fees I qo¡t$. PerQ¡der                             2?;93€:00 2,42þþv7.e8
 1Ol2Ot17 6404 O¡rrrqga Pesl Cqnlrol, lnc.        Chec.lr - Jan ¿nd Ma¡qh12017                       -         160.00 2,420,427.68
 ßn1n7 642ã Advance Texttlês                     Chèct(                                              -      2,193.50 2,+lgl2&r.1.8
 l1tz}tlV 5435 l-ftll.Ron                         ChedK                                              -      l;042;97 2;417,221.21
 10120t17 6406 l(als€r'Fqundatlon Heallh Plqn lr Cheok                                                     sí ,439.89 4365,781.32
 1OlzOtlV 5498 Facillc'slsnallng Syptems Ghec¡ - svr cql, t/8/17                                     -         43t,79 2,3ii5,347.53
 10t20/.17 6443 RoyLl Amþrjlanc8                 Check.dr¡le ol,asllS;,l2gl1¡v                       -         703.S9 2,38,Írg{3.65
1ol2bl17 6*3S TPx Sûmmunlc.sllonr Qheck                                                              .         954.ú8 t196S,888J7
 'lgt29t17 5451 Zoom lrnaglng Solutlsna lno Ohock                                                    -         5,33.04 ¿;3ô3;1õ5,13
 1W2011? 6#52 PGeÉ                                ChepK                                              '         249,82 l;30¿;905.51
 1At23l1V 5426 Alrea¡ USA" LLC                   Oheak                                               -         353183 2;362ì651.68
 1012311V 6427 AllKleen'Sorution¡ lLG            Cheo-k                                              -      I ,035.19 2,36,1191ô.49
 1ç,/23117 5428 Allscrlpfs Hoalthoåro, LLC        Ohqõk                                              -         700,00 2,360,416.¿9
 10t23t17 g/,29 BBy Janftoriar Suppry, tnc,       Check                                              -      1,512.47 2;359,004.0?
 10t2311V 6452 Glob.alOøpacity                    Oheck                                              -          97.02 2,358j907.001
 16n3n7 5440 Publlc StorugÊ                       Chçck                                              "         143,00 2i358..?64,00
 1WZA17 6144 ;8lmÉleLTC;,lna.                     Cheek                                              -          82,00 2;358,682.00
 10/93/17 5446 .Sysco..Ssñ Frgncisco, lhc,        Checkropt 2017                                     -      1,66n84 2,357;014.1.6
 1A&3117 ã44:l Toshlba Flnancial Servroes Check                                                                341.¡4 2,356"ð72,82
 19t23¡17 i6450 YP                                Check                                              -          37,18 9;350,635.3,4
 10t2,3t1V æ67 AT&T                               oheck                                              -           6,08 2,356,699.27
 fiIaatlv         Trãnssi           ,            l,rancfeIls 0õA
                                                                      :1'tOS40¡f7!                        2ec;08?.i00 2,12:t,,õø2.27
 'l$l23l17        Dopoolt                        CA DHCS,MEDI-CAL TRN*1r05068-2310û'1680217 ,ZA:î ,7.?4.2&.       .    2,335,286,50
1.Ot?3t17         Deposlt                         KAISER FOUNDATIO TRN.1co0oO0250OO8?l:71t1 179,p9-0,00           .    2,514,þ7ô.50
'tol24t17 5360 Jerold Kra¡                       Check                                               -      1,0@,00 2;õ13,3?6.5û
 1'0/24t17 5368 Psrry Llghtfaot                 ,Cheþk                                               -          õ0,00 2;519,32-6.50
 'l'ol/24117 5405 Pêry t-lghtfoot                Check - 99221Z nuglc                                -          50.00 2,613,226.50
1U24t17' 5430 DIRECÍV                            Check                                               -         10't.24 2,019,1õs.Zô
1:U2N1l 8¿11 ,Quqe¡¡e,Çuq¡                       Gnôd(, |e¡mb                                        .         192.,!9 Ll12,g7,7.AT
10t24ìt't7 fi45 Sonic.net, jnc.                  Chest                                                      1,,1v6,A2 A$1 l,ÊO'! .Is
l9l23l!t7         Deposlt                        I(AISEB FOUNDATIO TRNrÌ:000092õ00Oõ30-071 2,42V,56               -    2,6tr4"229,7'l
1û/¡õ/17 5410 Msrlo Maflnez                      OhÉck                                                         j04,00 Z,5t4,Ogö.71

                                                    Súmmlt B¡nk       Oper¡dng Account   ¡.801.3
                                                                  '
                            Case 3:17-cv-00223-RS Document 329 Filed 01/30/18 Page 38 of 55
                                                                   Summît:Bankl- OpÊrâf n¡ Account x8û13


       D.ltc           f+                                                tiorr                                        Al¡tûûrìl        AñrouIt           tlalônce
SBni            ftef         P¿yce    / l)ayor
raBu17          5489         Ml0hs6l chdu                       Cñesl(                                                                           J3    ,2,6{3,J',s8,58
10lntf          53õ0         Csrmola Mli¡z€lla                  Choôk                                                                   11,0A5.00      2,50¿,1 0.38
ßt27117                      D-gpo8lt                           KATSER FOUNDATIO TRN:1"000002õ000õ3753"1                2;814,54                       2,504,948,12
                             Dôposlt                            MERCF.JANT BANKOD DEPOSÍ T A660062058T9                    200.00                      21505,f48,'l¿
"10127/17
'10/08117       6442         Rodney M, Fukumltsu                Check - Landsc¡¡pe and GÞrdsn gsrvlces                                     ?-¡0,00     2;604,318,12
101301t?        5rt59        Alrgss Uç4, LLc                    Cnqcx                                                                    1,150.42      2;ö09,2?7.7.q
1,0190/T7                    Loan Peyrqent x93ô6                ,4!      10íS21ð                                                        12;50185       2,4¡¡0,?25,û5i
1Ol3:0t17'                   Dogosll                            CA DHg9 MEDI"OAL TRNiI'0.605909S$I e80217              ¿e.,zs;oe                       2*917r608.51
10/30/17                     Þepoeit                            t(At'sER FOUNDA;nO TBN!1"00009â500054087'1              í,140.00                       2,518-;8ô8.51
10/31117        r54ô1        Amerlca.n Hêalthteçh, lnc.         Che6*                                                                      ,*n,        2,ãf 7,6ÞS,48
10/q11'!7       6466         DATASAFE, !nc.                     theÊh                                                                       04,00      2,517,b76.48
 10t91t17       5473         Kalse¡ Clalmd R6cûve(y             Ch€ck                                                                    6,Ê00:00      2i611;376..48
 10131i,1tr7    &r80         PÑC Equlpment F¡nan¡:à, LLc        Checlr                                                                     856.61      2;510;81'9.97
i 0/s1/r 7      5¿91         RDs for Hêalthcaro                 Check                                                                        9ô.98     2;510,7,2?.99
                ã484                                                                                                                       0.5u,û0     2
 11t01t17       õ433         ll8rÞor Bãy                                                  1.7

 11t01117       s480         AllKlê€n:Solutlons   LLC.          Oheck'                                                                     8q090       2,50tJ871.49
 11ß1:117        9464        Commun,ty Mob¡le Dlegnostios li G^fiedk.'x'rayr Cardtat                                                     1,,'t04.79    2;607,566.70
 11141117       ;64b8        e & S Fire Protêõtlon,.lnc. Cheok - Q# tTreTinternal disate¡ d¡ilf 916/17                                       83,00     2.507;413.70i
 1   1101/17    5476         KalserPermanEnie                   Check                                                                    1,?'7?,,43    u;5b6,201.21
 11t0111?       8+78         Feny Llghthot                      6he6k,- muslc:10/13117                                                       50.00     2;606,161;21
 11lDlt17       ,6483,       Ssh¡edet's Medlcaf Sqpply    lnc   Gheck                                                                    4,78¿.09      ?'501,. 69.e7
 11t01.tl7      64&6         Sutter    Health                   Check'                                                                   ,3,20,1,:13    2,499,1ô8,14
 11tQ11,1:l     5486         Sysco. San Frãnclsco,   lno,       Chesk.- 001.2017                                                         .5;012.07     2i{9-î,166,07
 f    ß1t17     5¡88:        Jack$oñ     Dats                   ChçcK                                                                       176,37     2i4ù2¡979;I'0
 11101Ì17       64p't        l-arrle Noble 6r.                  Check'-'MUSIÇ                                                                'õ0.00    ã,4s2,929.70
 11101n'l                    rRs                                lRs usAT/\xPYMT 2107.70533331921 COMPREITEN                             83"488i35      t,409,44'1,35.
 11101t17                    EDD                                ,EMPLOYMENT D6/EL EDD EFTPMT 19663346S?                                 12,48121        2;39õi900, l4
 11t0111:t                   tR$                                tRs usaTAxPvMÏ'ãozzoso1t62064 COMPREHEN                                    880.80       3,3S6.279,34
 1"1t.01117                  Honda                              .HONÞAFMT800205823569!0905Û4601 SHI                                        4S201        E,3Sõ.8r2.S3
 11n1n7                      EDD                                'EMPLOYMENT OEVEL EDD'EFTFMT 15896640                                        66i19     ;1395;766,14
 11nwfl:        5469         Shlrls.y.Mà                        .GhooK - 093017                                                             0s2"98      2,09õ;003.'tr
 1ilbzi1:?      54üB         Abiilty Networker inc,             check                                                                       19if ,00    2394,869.1ô
 1ttou17        54ô6         Dopt of    Heãllh'Care,servlcoe Chock - 2371 DAYS            GD   $1S.96                                   37,8'17,45      2i357,0S1.71
 1\',ßU1T        6470        Hill,Rôrn                          GhoCk                                                                       v77,02     2i056.274.09
 11,t02,'17     54V4.        Ka¡sgr Pêrmanente                  Chðdt                                                                       365i74     :2,355i908¡95
 fißa17          547A        KaiserPermanenis                   Check                                                                        86:00      2.866ì8æ,96
 fnul:t          64r9        FG8Ë                               Olìêsk                                                                   b,1:3Lzg       2,347,690;67
 1il0?t1-r      6487         Bfuo ghlêld of Cal¡l"or'nla        ChoôK                                                                       42V.22      2;û47,2ñ?,d6
                                                                                                                                         ,r,4¿5.00
 fi:lþallr       5490        Jud,l/"Wong RN                     Ohêck - 10/8117-10t191v                                                                 2f345,838'4ç
 11:lßzt1:l                  Depos¡t'                           Regular Deposlt                                       903,776.35                        2,64q614,80
 11t02î1V                    FEÛS                               AUTHNÉT GATEWAYBILLING 9S1:3ô127                                               7.*5     2¡6a9;Ê08;85
 1'il09,t1.v     5454        OmogÊ Pegt.Oontrol, lnc,           Check - dos {Q0017                                                           75.00      2,Í19,531;85
 11it03l1il      5462        8ay Janltorlal Supply, lnc.        Check                                                                       868.06      2,548;ôt3:70
 11t08117        546S        Hesllh Nol lnc                     ,Check - 110117-f20117                                                      41824       2,548,2.45;6õ
 1\tON17         5477        Ne,twork Therapies; lnc.           Chaclt                                                                  44,068.89       a5&,176,66
 11/0gl1l        549â        Nèqfuhdc B1i Neopost               Cheok                                                                       2s0.00      2;503is26.,86
 11tt5t17        s4s5        FETTY CASH                         .ghSOK                                                                   2,080.04      ¿,501,84q.62
 11tÞ3117                    IRS                                IRS USATAXPY'MT 2707'1,07753j2247 COMPREHEN                                 2214ô      .2,60'1,623,17
 11t03t17                    EDD.                               EMFLO:YMËNT DF/E! EÐD EFTPMT 19699s473s                                      49"80      2,60.1õ8'4'.37
 1.1t83t17                   F6es                               MERoHAT.¡TÊANK6DFEF2€6006895883 BAY                                          35;õ0      2;Þ01,648¡87
 ,11i/Ð3t't:t                Fbes:                              MERCHANÍ BANKCDTDISCOUNT 266005295883                                        30.66      2¡601,518,21
 11tþ3t17                    Depgslt                            Regular Depotlt                                       1i4,07850.                        2,61â,,594,n
 11t03t17                    Fees                               MERCHANT BANKCD ÍNTERCHNG 266005295383                                      10-09      :2;015;ã84,62
 1,110ôt17       5431        Kaiser PsmÉnonte                   Cheolr                                                                   3,7f 7:00     ,2tþ1,1.,867;6?

 11t}6t1:r       5453,       Kalsef :Perinanente                Çheçk                                                                   15,180.00      .2¡590i687;62
 t 1¡l06t't7     6482        SarÍllr Selraln MD, lnc            ohêck                                                                     1,000.0d     ,2;59ð,687.8?
 11tp6t17:       úÚSX        Davld E. Quan Agenry               Ch8ct( - down pymt genlpiof liËb 1                                      '20,490;76      s,5'¿5;1h8,S6
 l1106/17                    Dopgel!                            CA DI-IQS MEDI-OAL TFtN'f '050$qeB44Ë16so277          1:991.61,9,5'8                    2,V74ê01"44
 ltßa|17                     Þçpottt:                           MERCHANT BANKCD DËPoSlT a€6Q0õ2958-09                    9,319.00                       2¡7Ì'8¡12t,:#I
 11,ß7t,17       647,2       Jerold Kmm                         Check                                                                    f o00,00       ¿,t77,;l20.,{4
 11r07t17       .54e6,       ShllsyMà.                          Chook'-otpanse rcport                                                    9,806.59       c,767,313.û5.


                                                                  Sumnrlt Benk     -   OFer¡tlnÍ.¡Qccount   ,(801,3
                                Case 3:17-cv-00223-RS Document 329 Filed 01/30/18 Page 39 of 55
                                                                       Summlt:Bank          Operatlng Aecount 18013
                                                                                        '
                                                                                                                                    Withdrewrl
                                                                                                                                                         Dälånce
ttâñL      tråte    flet   fi    Payee   /   Payor                    Oescli                                          An1ount        Arnouì1t
 11107t17                        Daposlt                             KAISER.F'oUNO]IIIo TRN| 1"00-00025000581ü'r      187,28-O,00                       2,S54,593.85
 ,tu08t17                        D.eposlt                            ÑORIDIAN JEA TRNr1"ËFT8688896'146017              79,785.86                        3,034t379.70
 1   1/08/17                     oêÞosit                             K¡üSER FOUNÞATIO TRN"1t0000023000õã95ðn1          20,700.00                        3,055"079.70
 11106t17                        FEeS                                PAYMENT SERVICE BILLINGFEE CKF21E4436OEP                              4.95         ai05s,074.76
 1   1/09117        5416         Depadment.of Heõlth Cårê Servlcheolt. rafund mcal Övétpal,ment                                        ?.340,00         3.05em4.75
 11t09117           5d17         Deporlmönt ql Health Caro SorviÇheck - rofund mosl gverp-aymeñt                                            069,90      3,062,064,96
 1lt0sh7            5418         Depar{rnentof Health ea¡e,Servi Check - refund mcal ovêrpe}rmênt                                            41   27    3,052,043"q8
 1   1/09/1 7       6418         D6pertmeñt of Heslth Care ServiCheck - rêtund mcal ovorPayrnent                                             41   .2t   3,05'1,98?.31
 1t/09/'T7                       Trånlbi                             Tr¡fitbitollÐIr        12o0É,o{':n'                             950,000:00         2,801;982.31
 11t10117           6{67         Dlagnostic Laboratorles   SL        Oheck      ' SEP201t                                                   470,60      480ï,511,71
 11t10t17                        Fees.                               MERCHANT BANKOD FEE 2660062S5883 BAY                                     s.95      2,801,501.76.

 1',|t13117         5505         Alrgas USA,     LLC                 Chsck                                                                  7V7.36      2,800J24.41
 11t13t17           5508                              lno" Check
                                 Bay Janltorial Supply¡                                                                                ¿i209,1 1l       2,798;64 6.30
 11t13t17           5514         Toshibå Finarioial Services Check                                                                      .440:81         2,799;0it4,:49
 11.t.13t17         551s         TFL Qommuriloãlions Chêck                                                                                  *42:79      7;'197131..74
 1',111,3t17        5622         Bay Area Healthoare CsnlêÌ cheek ' reÉldeni,trust                                                          194.00      2,Vff.,597.18
 1'1t1,3t17         5933         Repubtic lndemnity Company     ol   Check,                                                           2B¡418.20         2a770,519.50
 11n3117            5599         FETTYCASH                           Check                                                                  822r68      2i769.696.82
 11113t17           5543         American Express 12006              Chect(.                                                          84;07O26          2i685,626,58
 11t.l3117                       Depor¡l                             RÞgular Deposit                                   62,8:U,37                        2,7,f8;250.93
 11ìn',3t1v                      Deposlt                             MERGHANT BANKC0 ÞEPOSIT ¿6600s295884               1,000.00                        t,749;250.93
 yn4t17             6506         AllKtEen Solutions LLC              Check                                                                  7.91,73     2,748,459!e0
 11t1t4t17          .5510        Kals€r Peimanênle                   Checl(                                                                 43eg0       2;748iÛ2ô.84
 11t.',/,4117       g5{3         Sysco:ganFranoisco.lno,       CheoK                                                                    4'143,04        t,743i883.80
 11114117           55't8        Wastor Managemer¡l ol Alameda Check                                                                    5,648.39        2,73Si395,4J
 11t14t17           5528         Glria Tatlor                  Chock                                                                    I
                                                                                                                                            "000.00
                                                                                                                                                        '.2,737,3#;Ã1
 11t1411:l          5535         Shlrley Ma                          gh€ck                                                             .6,206,3C         2,712,130..02
 11t14117                        Deposit                             cA DHGS MEDI-OAL TRN'1'050608243I680217           36p84.35                         2,771,454.37
 11I4i117                        Depßit                              MERCHANÍ BANKCÞ OEPOSIT 20600629qS83               2,7'18.00                       2,n9,772,37
                                                                                                                                                        ,2,772i964.93
 11tl6t',t7          5600        Brlgga Hoalthoåre                   Cheok                                                                  007.44
 11t15t17            6632        Max Huang                           Clleo¡(                                                            1,400:.00       atr11,õ64,93
 1.1t16ilx                                                           XAISgR rFOUt¡OATìO: TRN'1'000002500068822*1
 1       1/16/17                                                     rRs                                                                                ?;679,$t9,03
 1'1116117                       EDD;                                EOD                                                               14,?60;40        2;865,661,.03
 11t16t1'7           5471        JtS'MedWaste     Mbnt.              Chedlt:                                                           :2,1160.00       2,6ô3,5Þ1.63
 11t17117            5463        C8nñeta  M¡-zplla                   Cheok - Augr¡sl 20:17 speech                                       9,326:00        2.654,196:63
 11t17t,1:l          5520        A¡rgas USA|   LLG                   Check                                                                  941,41      !,6.68;255,¿?
 11117t11            5623        8åy J8nitorial supplyl lnc.         Check                                                              2,031.57        2,651,223.65
 11t17117            6537        Zoom lmagfng Solutldn8 lnd          Check:                                                               198.40        a65'l;085.2s
 11t17t1?            5644        Sofeway                             Ghsd( ' Emplòy€ô gifl cardb Í0r Thanksg'lving                     10,1,50,00       2,634,S35,26
 1112At17            6507        Amerltas Llfe lhsurance   Cörp,     Chêck                                                              't,079;63       a;ô34ì855,72
 11tZQt1:l:          å5119                  lno.
                                 Abll[y Networks)                    Chesk                                                                  194,00      2,633;661,72
     11t20t17        õ520        DIRÉCTV                             Gfi6e.k.                                                               ruq.99      2.633'558:73
     1rnan7          6529        Judy Wong,RN                        Checlt                                                             1,587.60        2,6¡1.97f .23
     11l2ùl17        õ630        Kaiser Foundrtion Hðalth Plan lr Chêck                                                                52,908.17        2,57S,0.88.06
     11r20t17        56M         Rodney M. Fr¡kumltsu             Oheok,- Landgsape and Gardon Services                                     42S,00      2i578iÊ43.06
     11t20t17                    Deposit                          CA DHCS MEDI-OAL TRN'l'05061r6959"16802f7           23{,645.02                        2;813;288,08
 1.1120/1:l                      Doposlt                          NORIDIAN JEA TRNt1qEFT8679959'1450:17                  3"707,23                       ?,817,085,31
     f    r2111:t    55r2        Shirley Ma                          Checlt,                                                            1,ô9t,47        2.8'15.393,84
     11t21t17        6t*0        Deparlment of Health Care ServlChecl(                                                                  1,966.00        2,813,427.84
     11n1r17         6641                 Clrrb
                                 Hâibor Bay                     Chêck                                                                     257,00        2;Ð13i'l70.84
     1'Il21l:17                  Fees                                CHG BKFEE                                                                10;00     2;81'3.160.8{
     ßr21t17                     NSF                                 CHRGDEACKNSF                                                       *,õ32i00        2;811,,628,84
     11t21117                    DsÞoEit.                            KAISER FouNDATlo TRN'1r00000250005980r1             9,79õ.00                       2,821.,4U.81.
     11t22t,17,                  l¡'a¡¡stur.                         TrâfisÈrto.DÞA 120040472                                         ¿54,000ì00        2,ï't1.424.84
     11t22t17                    Deposlt                             I(AISER FÕUNDAÍI0]TRN'1'00û002500060223'1        202,400.00                        ?"77.3i824.84
     11t'22t17                   Depostt                             l{AlSËR FOUNDA,TIO TRN'1100Û002500060591'1,           901,25                       2',774,V24,09
 1112417              s621                   InrurancêCorp.
                                 .Ameritas'Lile                      Ohock                                                              1.'T14,30       2,v73,ø,11.7.9
 11E4t1V             .ã536       Sonle-mt..lnc,                      Chook                                                              I               zt772,43V,gA
                                                                                                                                            '179,8,1
     11n4t17                     Depoell                             I(AISER FOUNDATIO TRN'1'000002500080880!1          19rf60.00                       ?,701,987.98
     1il27t17        5527        EIIãn Mn                            Ohsak                                                                  171.V1      2,79fr016.27
     11127,117       55gr        Mari¿ Mart¡nez                      CheCk                                                                  194.00      2,79'l:682.27


                                                                       Summn       Br¡k. Operatlng [ccount x80lt
                            Case 3:17-cv-00223-RS Document 329 Filed 01/30/18 Page 40 of 55
                                                                     suñnÌrn Bsn¡. -.OpÊråt¡ngAccöünl,l80tg

t¡rrk Daie       R€t   fl    PåyÉe     P¡                           DF!(f iprion                                         Amrtuflt        Arnou¡rt          llal¿nce

11'ta?ll'tf                           Ohow' D,P.M              Check                                                                          45.00     2,791,W,U
finatfl          6547        AooBlêråtêd j9Ërô.PlUt Leaûlng, l gheqh                                                                         2522,1     2¡79.'t,386,06
11t28/.1,7       5q48        Alrgas USA,  tLO                  Gheclt                                                                      1eLV.06      2i;€01467;71
11t2s11,7        6'651       Libarty rMulual lngumnoo              Ohe.ol                                                                  +,3?8,00     2,78õl7€1;71
11,t4W17         6565        ,PNC:Egulpmont Flnãncs,       LLC     Ched(                                                                     605.01     z,il'96,m.9,70
11t28t'î1        556S        YF                       çheck                                                                                   3r,00     2,78!,¿3s.70
11tzü17          5560        PEñYOASH                 Cheok                                                                                  800,10     2,784,43S.54
1.1t29t17        5õ61        Shldpy M¡                Chosk                                                                                I,147.70     :2,790,,1'9.1,8.{

 fiIau1T                     Loeh Psymonlxg388, ,40           1019215                                                                     12,601 ,86:   .2,770,Ê89,99
 11128t17                    Deposlt                  Rqgular Deposlt                                                      4.666,68                     2,716,3ffi.,67'
 1Inv1',I                    .Dsposlf                 KAISER FOUNDATIO TßN'1"00000¿6o006x 121 '1                          ö0.e12;00                     2,806,õ6E 67
 1'llzgl1X       5654        PG.&E                    Check                                                                                6i94,4,55    21s8,624,12
 11t2Sn7         sssg        sysco San Fr¿nçlsco. lnç ch.çç*                                                                               3i253¡88     2,79ã,370.24
1,112811,1                   Dsposit                  NORIDIAN.JEA TRNi1iEFT868094l-'145047                              ,44,690.48,                    2,8¡10.060.72r
 11,tzCt7T                   lRs                      IRS uSATAXPYMT 27077330õ16A127 COMPREHEN                                            91¡922.28     2"744,138.44
 11t29117                    Deposir                  KAISER FoUNDi\flO TRN*1','000002õ00001696¡f                         1,1'494.76                    2,759,6-39.19

 111¿s17                     EDD                      EMPTOVMENTÞEVELEôO EFTPMT297Q67529                                                  101601.17     4146,092,02
 11t29t17                    Doposil                  çA DHOS MEÐI'CAL TR'N'1'050€25847''16802{7                           2, f 61:r93                  2i749r,169.95:

 11t29t17                    Honda                    HONDAPMT80020582'3571910C55S541 8Hl                                                    467,,01    2,747,706.94
 1   1/30/17     õ550        Globalcapaolty           Chec*                                                                                    97.02    2J47,609,e2
 11         T                                                                          SANKODlDEFOS¡T                                                   2,747,79:!t.Ðz
            il               Fotry
 1?10111,1       5549        /ltlfXleen Sc'l¡¡tlb'ns LLO           Oheôk                                                                   1,354,5S     2,746;347.331
 12tQ1117        56S3        ForrylJghtföot                        Ghqck     '   Nov   l0   ã017                                               59"00    2,746,897,Sõ
 IU01,.t17       ð557        Sknp¡eLTC;,    lnc                    Check                                                                       82,00    e,746,216.33:
 12,101:l\7                  Depost                                NORIDÍAÑ           JEA
                                                                                 TRN¡1'8F1868390ä:{46017                  18,õ21.28                     2-764,736.81
 12/01,117                   tR$                                   tRs UoATAXPYMT 2707735S1 943926 CoturPREllEN                              4{Sr:16    2:rø4,290,46;
 1?,.01117                   Þepsalt                               MERCHANT BANKCDT ÞËPOSIT 2660õ829588-3                    894,00                     2,765if 04.46
 1.AA1rq7                    EDD                                   EMPLOYMENT DEVËL ET]D EFTPMT 796158018                                      58.87    ¿,766,r25,68
 12¡Mn7          s652        Mlúaêl Ohau                           Chs6k;" l0lg17                                                            487,66     2;764,637.93
 12tO41,17                   Fêea:                                 MERQFIANT BANKOÞ FEEIä6OOO5¿93883 BAV                                       51,ô1     2,764.686,92
 1404t17                     Fees                                  MER:CHANT BANKCD Þ1SCOUNT2660052g6883                                       49:.11   2,764,ðô7.q5
 12t94t17                    FËeB                                  MER0IIANT BANKËD INTERCHNG t0C00529ð883                                     36r52    ¿;764õ01,.13
 1210411.7                   FEES                                  AUTHNET GATEII'AY.BILLING 99596610                                           7;96     2;764i403.f8,
 1?106î17        954?        Queenle Guan                          Gheok                                                                     408,19      2;764,0å4.9S
 't2t05t.17,                 Dep¡slt                               }#IiISER:FOüNDATIO TRNrl-000002500062       76'1        5;227,26                     2,169Å1,2,24
 12106117        :6624       BHggs H6alttibå-re                    Clieck                                                                   1,347;õ1    2;767,S64.73
 1AA6t17         6556        PolSlnelll FC                         Check                                                            :        200:00     2;767,7€/',73
 lAO6t'.lV                   Daposlt                               Rogulaf Depooit                                       16ãi878:65                      2;933;843,38
 12tßt1V                     DepódlÎ                               KAISER FOUNDATIO:TRN*1*0000Qã500002662:1                0;3õ2:50                      2,999;996.88
 1UO6¡17                     DeÞosit:                              MEROHANT BANKoD DEPO.SIT 286006295883,                  1,438.00                      2;94'1i42û"88
 1U88t17                     Depqsit                               l(AlgER FoUNDATIO TRN'i'0000025000631       f   e'1     1,1,84.50                     z;s42,608.38
 12t07t1v        ,b663.      AllKteen'Solulions'LLC                Cllêck - Inv date 9/18/17                                                 282,86      2.1942'328.69
 12t07.t17       666õ        Bãrnott Mèdii:al Sêñlcos,      lno.   Oheck - Blo Dlqposãl                                                      230;ô0      2i942.09õ,53
 12197117        ;6õ06       Bãy Area Rêsteúrånt,SerVJcês,,      L Chec¡(    . lnterceptorffrãp: Gr€asâ                                      100,00      2,34't,996.53
 1n07.t17        5õ70        P4T¡S¡Pþ,lnc.                         Check                                                                       84,00     2;94J.9'11,,53
 't2!07,1.1i|.   ,36t2       EBMUD Payment Conter                  Check.                                                                  '5;ø22.48     2;s36¿{9.05
 1.2tÃ7t17       ö580        Msx Huang RRT        Cor,rsulting     Cfioak - Nov 201?                                                        1,400.00     å.934i889.05
 12m,117         55C6        Notúork Thðrapfes,      lnc,          Ch€ck                                                                  49,n5,C7       2,88 i113,08,
 1A07HV                      FeôE                                  FAYMENÍSERVICE BILLINGFEEöKF218443508P                                       4,95     2,885,1û8;19
 12nW1V          65ô2        Alrgas USÀ,    LIO                    Check                                                                     706.04      2¡984;403.09i
 1?/08t17         5567       Bay Janltoriål Supply,    lhc,        Ohêok                                                                    1,9It3,39    4882,4CA.70
 12109117        :6576       Hlfl-Rom                              Chech.- cpnttoller.oompr€ssor                                             232,,16     Ê;88A,207,ã4
 12t0û!17         667:l      JD$.Medi^Jasre   Mgmt,                Cñecki- Þiohäz plilk Ùp                                                  1,7'95:00    2,990;412.5{
 1Zt08t1V        6589        Sutter  l-lealth                      Check                                                                   1,647;36      2,670i766,18
 12t0u1v         rS5g0        S|oco S8n Frandsc¡i lnç,             Cheok " Nov20l7                                                         7,012,a9      ¡¡87'1,,75¿,ô9:
 12t08t17        :56ø6        PÉÍTY cASH                           Crrqck,                                                                  I,47631      2;870,2it7,?8
 ,12/0¡/17                    Î¡anc'lÞr                            Trans'fertoiDÞA 'tg004t¡û72                                           e7.ûi000;0þ     2ß00.277.s8
 12tû8t't7.                   Þeposit                              Rsgulâr Dofo3lt                                        64.6't,0:60               :    e6er.B6¡-88j
 12/,11.|tv      s68{        'Aiherlcan Hçãlthteoh, lnô            Check                                                                     08e,03      2;663j898.85
 1a11tïv         6571        Depl of Health Oarc     Sêrvices      Oheck                                                                  39;811,20      2i624.087.6S
 fãf1Jlt7        6574        Haalth Not     lne                    Cheok                                                                      418.24     t,624i669,41


                                                                     sudimft gadk,- operating A6coun¡ t¡8013
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                                                           Summl! Eapb ¡ Operatlng Amount x8013

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gâhk   Oûte Reff                                                                                               AmoUnl                            E


12t11t11       5576     IPF$   CorporBtlon              Õhect(                                                                  6iof 1"03      2,0'l?i968,38
12t11t11       5õ78     Kolsõr  Forma¡eñte              Oheck                                                                    1;2ï-2,43     2,61ô.38C.95
 12t11t17      5õ79     K¿lsérPeñnsnsnte                çhqok                                                                        86.00     z,ô16,299.95
r2111t1'.r     s583     Perry Llghtbot                  Check - l1/2¡tl17 mu8¡c                                                      50,00     2,6t!6,249.96
1,2t1111v      6584     Publlc gtorâge                  Check - Oecembor 2011                                                      143,00      2,616;100.06
\u1I1v         5586     saml¡ Salram MÞ, lnc            Cnepk " Novoñbor ¿017                                                    1,0p9.00      2i61S,106,95
d2/11,/I7      5666     :Smðrtllnx Sofutlong LLO        Chc-c.k                                                                    667:60      2;61'4,?49.35
1AfI17         õ694      Heev C. LsW                     Oheok    '   ?017:18ûêc prop ta,f                                     281021.60       e;506,2ã7"7e
 12n1:t|7'     6Sg8      Ka¡F€rPèÍnanoñtb                Çhsak                                                                       67:10     2;680;160.62
 141U.17       6830     rGinâ Taylor                     Check                                                                   1,000,00      2;585,160.62'
 12t11,t17               Deposll                         K¡IIISERTFOUNDAÍIO TRN'{'000002500068629'1             .6i949;75               ¡      2,5s1;110,37
                                                                                                                               gg,b¿6'5û
 12,t11'¡17              IRS                             IRS USATAXPYNT 270774513863902 COMPREHEN                                              2rr491,18t.81
 latranil      6601      Neofunde By N€gpost             Check                                                                       44,20     2¡491,;'t89.61

 12t12t17      5go8      Àdvqnçç Tex,ttlqs               Ghed.K                                                                  3,073:03      ?,48'8,0È6.i38
 ,12112¡17     5899      AllKleen $qlutlone LLG          Obeck                                                                     869i36      2,48?;2O7¿3
 12t,tr2t17    6610      Amerlcån express x2006          Chsck.                                                                '86rit2õ;U3     2r¡101.082,00

 12112117      5611      BayAþrn Ccimpâny                Ohecl                                                                      15A.00     t,400,929..00
 't211,21.17   5614      l-illl;Rom                      Ch€ak                                                                   :3,otrô,03    2.39?;892.$-7
'1ãlt121.17,   5615     lnl6rnatlonalFlreEquipmeñt       Check                                                                     ?45:6$      2i397;846,741
 1aø17         å620     Sofrcholee,Gorporallon           Chôok.                                                                  1,356.94      ?,396;?S0,10
'12r12t17      5622     Taylor Hou$emãn                  ChåcR:                                                                    38õ:73      2;396;Ð04.37
 ttznafl       5623     TPx Communloai¡ons               Chgok                                                                      978,52     2;394,92d.85
 121',1,3t17   6568.    Bluo Shþld of Oalllomls          Check - Dec 2017                                                          42722       U;394;5q1.Bg
 1?J1,3117     6585     RÐÐ:for Healthcarð               ,Chsdk                                                                      :96,gq    l;!p{¡404,65
 12l't3117     5592     Henry O, Levy                    Check - 2017''18 sso prop tax                                           5.413,06      2i388,e90.s9
 'tu1u17       501ð     Bey Janltorial 8¡pply, lnc.      Chpck                                                                   f ,0r?.50     ?,30?;908.¡'fr
 1?/13t17      5618     Penyughtfoot                     Ch€ck                                                                       60.00     a.987,918,411

 1?/13t17      56í¡1    S,yeco San Franciscoi lrÌo:      CheÚk                                                                   2,04jl.34     4i386107'7;07

 1?/131't7     5ts27    ToFh¡beFlnâncid¡.Ssnilcss        Ghsc'k                                                                     3+1,34     2,385¡ã8&73
 1A13117       56e8            Club
                        Harbor Bay                       Chock                                                                      363:00     2,385;172.73
 1A13117       5ô29       ltlavall¡
                        Raul                             Checlt                                                                  1,500.00      a.983,672.73
 \U1il1V'               Depodtt-                         .l(NqER FOUNDATIO TRN"í|000002å0006{3ô2'1                 164ì60                      2,S83,837,¡3
 1413,t17               EDD                              EMPLOYMENT OËx/EL EDD               EFTPMTl3l'8'100                    ,15,1:94:5-1   2,368ß42.72
 12t141,17     5560:    Community MobllÞ Diagnostlcs Il.Check                                                                    1,ô46,.48     a366l9gq¿4
 1,2t1lt17     561¿     Bay Area Healtheåre Center      ChecR - resider¡t trust                                                      97.00     2,3S0,899.24
 1,AVt.17      66251    Zopm lmaglng Sqlt¡tlons [nç      Chook]                                                                     210,fio    2¡366i688.44
 12114i1:7              AdJustment                       Deðlt M€mi)                                                                   0,0$l   8.368i688:4'l
 1U14t17                Deposit                         Rdgulsi Deposit                                        120,082i50.                     2,486i770,91
 12t16117      5420'    õèpartment of Flealfh Carc SorviCheqft                                                                      l'60.5f    ?¿486;ðl4.4fl
 12/,t5l'l:ì   5582     ÑÈþpost USA   lnc               Chack                                                                       {r03,08    e486rô11.32
           7
           7   6833     Marla                                                                                                                               1

 12118t17               o9poÉir                          l(AtgER FoUNDATIO TRNï'000002500064841'1                r.zoùo                        ,2,487i411.32
 1w1'8t17               Deposll                          MERCI'tANT BANKOD DEPOSIT 26000ö295883                  1,823;60'                     2;489,034.92
 1211gi:l:?:   50'16    LaborLsli PqetsrServloe          Choolc                                                                      79.50     2;a88.955,12
 la19t1:t      661S     Rpctnêy   M, Fukumfisu           Chsoh                                                                      425.00     2,488r53þ.42
 1aßhI         6624     Wasio Management.of Alomeda ChaçK                                                                        6,718.92      148t,8.|'1;50
 'lu1gt1il               beposlt                    l(AlSEB FOUNDATIO TRN'1|000002500084901'1                  14í!';¡13.50              a     ¿;026;525.00
 1u19t11,                Deposll                    ITERCHANT BANKCÐ DEPOSIT?06005296883                           206;0û                      2,626i731,00
 12t2U17       55-73    Eli5a   Ma                  Ch€ck                                                                           349:49     '2;826:361,.51
                                                                                                                              '0{Û,0.ü['00,
 1tt20l{17               f.o¡r¡ßr                   f'r¡n¡tbrto ppa. 120ß¡04?2                                                                 2,291¡381.51
 1?teottT                Deposft                    KAISERFOUNDATIO IRN'i'000002500065814-1                    104,714.00                      ?;g96io9S.5l
 1UZ0t17                 Depoalt                    M!$FR FQUNDÀTI0;TRN*1'0000025000653'16'1                    6õ'370;00                      2;46'1,3Ss.5'r
 1A21t17       .66I7    Matle   Martlne¡            Cheak -Þec'2Û17                                                                 1,34"00    2,461,¿g'l.Sl
 12:21t17      5634      MadE Madfnez                    Check,- Llfetlme Achlevement Award                                         500,00     2:&80,71J1:51
 12121117      5ô62      FEIÍYCJ\8H                      OhecR,                                                                     72e.92     2t¡1S0,007.89
 12t21111                Dgpos¡t                         Rçgular Dêposit                                        ,8t, 24.07                     2;541,331.66
 12121117                Dgpoßtr                         t(AlsFRFouNDATtÞ rRN'f -000002600066120'1.             38,400.00                      ¡;97"9,731,ôB
 1A22t17       5597      Jsreld tûam                     Oheok                                                                    I,SOO,OO     2,6V8;73.1.tsg
 1A22t17       ,s637     iqdvaßcÊ Tèxliles               C:heok,                                                        a         r.10104      2t5l:1.,ã%.Az
 ,12t22117
               6t42      iFFo Cqrporation                Chock                                                                   6;011,03      2,5-tf ,523.59
 t2!2ßt\7      560p     .Alls.çdpts Heãlthcare, LLc      check.                                                                     350,00     ?15:¡'l,f 73.5s


                                                           Summlt B¡nk'. OprÌtt¡nt Ac@unt         il018
                           Case 3:17-cv-00223-RS Document 329 Filed 01/30/18 Page 42 of 55
                                                               lummll Bâtrk' OÞerstlng Àocouat rfl113'
                                                                                                                         Wttüdmral
'83nh   Oalrr   R€f   fl    Favee,/ P:¡                       D€'rc.lÞt¡on                                   Âmoattlt     Anrount       lSill.ln(€
 12126117       6Þ41        Judy Wong:RN                            -,28.75 hrs + 35.5 hrg                                            2,5S7,961.0S
 It2t26l1f      ff46        Kalsor  Fcr,none-rttg           Oheolt                                               .        866.71 2,56?69Í.05
 72t26t17       5ô40        Roildble Sy¡lam¡ilno            ohælt                                                -        '11l9.1r8 ?,Ã67r'.7€'17
 1'2126117      586t¡       Eofrcholae Coçorâtion           ghest( - HF Pmbsgk                                   -      1,956.ô5 2,566,.110.62
 1a129117       5g5l        Sgrco San Frandsco, l¡c"        Chgqk                                                -      1,57û.A0 ai564i546i3?
 1:2?]8t17'     56$7        Lâtrlg,Noblo si'                Ch6ck                                                -          60,00 2;66¿t'496,32:
 121?61'tT                  Dspqsit                         eA,DHCô: I,ÍEDI-CAL T.RÑ'1'05Ûðã0E¡0"16bO?17      52,975,19 - Z,6f 7:,471.õ1
 la26t17                    Dspostt                          KÆSER;FOUNDATIO TRN:1'000002ã00060859'1           620.û0         . 2"ûrb,091.61
 1,¿tzöt,\7                 tRs                              lR6 usAT,A)$YtlT 270776009ô74730 0oIIFREI'IEN       -    11t,96?.04 2,49.9.124.57
 12t2Vt17       6640        ÞIRECTV                          Oheek                                               .        102,SS 2,100,021.58
 1U27t17        5645        Kãlsér Foun(lütlon He¡tlh Plan lr Chetk                                              -     61;216'5ð 2;437,80ãO2,
 1:2l2ill1l     5õ48         Quesnie.Guan              Check                                                     -       ,5{7.69 443V,257.47
 1Zl2VI17       ,56F2        YF                        Gheck                                                     .          37;00 2á37,220.47
 1i2127t1V'     5658        'San Franslsçs Chrunlçle Che!*                                                        -       1.73,õ6 2,497,01ø.92
 1,2t2Vt1V      5663         thlrley Mt                Gheõk                                                      -     151795,06' 2i431,521'87
 1227117                     EDO                       EMPLOYMENTDEV,EI-.EOD.EFTPMT 3Ii623904                    -     1,8;A2A,44 2,412,90{,43
 1212817        i56{,1       Gloþ¡i Êapaslty           Chealt                                                     _         g:I,igï åi4f,Z,EO't,4I
 12128t17       5647         PG&E                      çhec*                                                      -      7;530.29 2,406,2S5.12
 1U?8;t17       66õ3         Shhley Ma                 Chpck                                                      -      3,6ô3,02 2,40.1,ßø210
 12128t11       5665         Jr¡dywong RN              Check                                                      -      I,475,00 2;400;f27,1,0
 1;2ts.8t17     õ004         Sysco.San Franclsco, lnc, Check                                                      -      4,580.53 2,396i64a6f
 1U28t17                     Loan Faymentx9380         40 1019U15                                                 -     12;501,85 ?,883;044.72
 1?,tzgt't7                  Deposil                   ÀlORtDlAN JEA TRN"'!*8FT8703137'1t4qfi7                61,16S.57       -     2.4?4,204.29.
 12,128t1:l                  D8posll                   MERCHANT tsANKGÞ D8FOS1T266006296883                    1,079;0ø      ,      2;*38279.29
 12i28/,17      õsg't        G&S- Fire Prptectfon Co:  Check                                                      '         93;00 2,435,186,29
 12{29t17       5660         t'leãllh Net lnc          Cheçk                                                      -        418,24 2r434i768¡06,
 |AAW1V                      Depoeit                   RegulbrDeposlt                                         õ1,417.å2      -      2,486,186.87
                                                                           Our¡ent PÞtlod,Subtotdls




                                                              Sulnmlt Ðanl¡ -,OpÊr.tlng:A€couf!!   f8oûl
                         Case 3:17-cv-00223-RS Document 329 Filed 01/30/18 Page 43 of 55


            STÂNDARDIZÊD FUND ACCOUNTING REPORT for $FRC.Gagh Bgsfs
            Recaivorship Civll Court Case No; 3:17..cv-0022SRS
                             Period:Öctober                           1   to                 31

FUND AGCôUNT|NG (soerlir¡truqtlons):,
                                                                                                                                                                    Refàrþnca
                               Bahnco.(Ae ofl0otobor {, 20i7)
                                ¡n Funcl Eatence:
Llne:l                      lncomo
    3                   ¡nd.Secùt¡üe3-Tr¿n3fsrs ¡nd Turnovet                                                  261488,795.70       26,488,795.70                         t
                                   lnçomo                                                                         18¡858.75           18;û68.75
    5
    6
    7                           Lltlgation lnco¡ne
                                     - Rofi¡ndt                                                                       ,22',1,92          ?21.92
             Îo¡al Fun¡l¡ Av¡llrlito '(L¡no¡:l -. 8}}                                                         28;F07;87ü37        2t;F0'7i87$t?     g6r5qt 103.tt

            Þecreases ln Fulnd Bálanc:e:
Llne 9
     t0     Dlsbt¡rssmqnls for Recelvorehlp Opera0ons
    1,Aa                   tø Reæ lvo ror Otâei': P¡'orbssrona/s                                               'tO05;607,58        1,,00s;607,68
Une 10þ                    Expenses                                                                               41,824:75           41,r824'791
    l0ç              Assol Expenses'
    Itd
    1.0e                                           Ëxpensac

                   1.                Expenses
              T'   9þ! mId,LCü lJ'lbstlo{',8{po.¡ses
    1:0f            Administratot Fa¿s and Botrdí
    1ûg     Fe.deø dnd State Tax, Pdymø¡tts


      I     Di¡bursemenb for ol¡tlbution Expen¡es Ptld by                                                     Fund:
    lla            D I slr -íb utlo n Pl a n   Oðì/e/qpnront Expeogesi
                    1. Fees:
                           Fuñd Admlnlslr'Etor,..::...;:...r;
                         lndop€ndênt Dl5tdbution Oonsultsnt (lDC)'....,......"
                         OiÈtrjbúüon Aeent
                         Consultäñts,,. .,. .,
                         Leg6l Adúieefs.,. ,
                         Ta¡ Advlsêrs....".
                    2: AdmÍnlstratf ve EKpen3es
                    3r Miscêllånêous


L¡ho 11b           Dlst¡ib ution Ptan          I   n plamenìatio n Fx.ponrcs;
                    l,   Feesr
                           Fund Adm¡nlshator... .,. ... ...... ......
                           tDc
                           D¡stilbrrtion,Agenl
                           C0ns{¡lhnts,..          .., , .   .,


                           LÊgal Advisgß.
                           Tax Ad'üiiÊrs,.,....                   .

                    2,,Adminiglrålive Expenses
                    3. lnveÈtor'ldentif cation¡
                           Notçe/F¡Jbllstìing ApÞrovöd Plan,,,
                           ohlmånt       ld€nfl ñaafi                 on,.,,..,,,,
                           'êlaírns:Froce$eing:
                         Web slte Mahlqnance/Ceil ColJtar:..,.. ......
                    4, Fund Admirlfstråtoi Bond
                    5. Misoellaneous.
                    6. Federdl Accûunt fur lnve8tor Restitütion
                                      Expenses,



    1Z
    1.2a.          I nvê êtm ø nl, Ex pënsosÆou/û                              FOgblry   I   nve   sttÌlenl

    1,2b
             Itotal Diao-ur¡emcnt¡ to Court/Other;
             lOtsl Fùnd¡ Olrbur¡ad {Llnes 9 'l{);                                    -                         1,447,432ß7         1,047'43?.37      1:ptzêga;st
                    itsladco (As of Decembe¡ 31,. 20l7lr
                         Case 3:17-cv-00223-RS Document 329 Filed 01/30/18 Page 44 of 55


LfnÊ 14       Endmg Brltnco of Fund - NstAssets¡
Llne, I 4a       6cså & C¡sl¡ Equlvabnß.                                                   25,4û0,670.74          26,¿160,6Y0.74
Llnø 14þ         lriveslrnqals
Lnë.74ç          Olfior Assols of ,Und¿arc d. F uNþ
               Total Endhg Balance of Fund - Net A¡¡et¡                                    2S,460;670.7,4         25,¡f60,670,74     ¡5.11ô0.ô70,7{


oTltEB 8t,FELÉfirE {iaL tllFoRrdAnoN:
                                                                                                                                      6rånd Total
                          oilþrns,for'ro.& Pttd wrha F.andl
                                     fer Pl¡n,Admln¡ùt¡ût¡ôn Effnlrå.Nþt,Prld by lhà Fr¡nù
                   PIpn Døvelopmenl Expenses Âlot Ptkl                   bt   lhe Fund:
                    L Foqs:
                            Fur¡d Admiñlstrator




                   Pldñ,lmplômontatiion Expcnso-s Not Paíd by the Fund:
                    I.   Fioes:;
                            Fund,Admlñlåtr?tof ..
                            tDc..-
                            tlslllbuJlon Agônt..
                            Congultani¡...., ,.
                            t¡ogdl Advissrg,.
                           'Tax Adviogrs,......-.

                    2:, Adminì$tr¡tivs Exgensqe
                    3, Inveçtor ldenttÍc€tloil
                           Nolioó/Prrbllirtling,Appr.oved   Plen.

                           'Qlaim¡ Fttú¡ós¡ihq,-..,..,,,.,,,,...,.
                           w9þ slto L¡lâftdenâñcó/câ¡l oenter,,,     ,

                    4. Fund,Admlnristratoi Bond
                    5, Mircelianeous
                    6. FAIR Reportirg

                   Tax                                                           tha FUnd


                                     to.CorrrU0ther f{ot Pald by
                    lnvos.fütant                        Pees
                   'Fêdanl Tax



             Nor of Clalm¡:
                 # o,/ Gla/ms Reco lvod. 77r1s Røpoltlng, Fedgd,, n,,,.,,,,,,

                '#of çlalri9Reaølvod Sin¿t lnoqption of Fund,.....
             No¿   of Clalnan'û¡Jlrrvortor¡;
                '# of üaänànls/lnyosla¡.s Fad nrls Rêporfint Fsrlod-............,.,..,...,
                 # ol'ota¡ñë)tiþ/1nvèsÍors FaId $¡hcê lnØNon,off unal"




                                              Itsrn.                                                                               Nste¡
    1        Oash & Sirsuiltieð:                                                          ¿Ê,488;795:70 Comprïðed. ôttunds,tmngfers, in lhe 4lh qüãder
                                                                                                            onfy, as follows:
                                                                                                            cs tP                        84,803.65
                                                                                                            'csll                    f;896,446.53
                                                                                                            cs ilt                   8,719,835.20
                                                                                                            cs'                      9;680,4ñ.71
                                                                                                            J.L                        ioo.ooo.oo
                                                                                                                                           1.23.6..61 TumoV€f Funiis

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                                                                                                                                      /t {
                        Case 3:17-cv-00223-RS Document 329 Filed 01/30/18 Page 45 of 55

                                                      Sl¡n Ëigr.iq;bco Rrgiorral ;Oepl,or
                                                         Susan, L. Ucdliôr',,Rppsi$Er
                                                                Ealanso'Shc¡Ef
                                                            Dçccmþsl3rl¡ ?(!17

                                                                      ,{S$ETS

Cunent Assets.
,Cheeþng . Bostoa,Pr iva¡e                 $             5Jr.4,9t
Ma¡ket Rato,. ßps1þ.8 Pdvatç                       .25¡454,EEiS.Sl

'Tols[ guüenr
                    lbre$                                                       e5,460,670i1{

Propert¡,ond Sguf pmerd

Totsl Propßrfy. end Equipnrcnt                                                               0'"00.


Orher Assetp

 Tb.ral Qthcr Assets                                                                         0;00

 Trotal'Ässcts                                                          s       .t5;g:60"974.74




                                                      I TABILITß$        {,qÌ{D' CAF¡Ti4|L

Currcin¡ Lisbit¡Uþs'

 Totâl,Gurr,Ênt Liabilitics                                                                  u00

LörgïTerrn L¡bbititiée

 Total LonçTerm         lui   ebltlti es                                                     0.0CI


 Tot{il:Liab¡l,ir¡-6s                                                                        0.00:

:CcpiIpl
 TurnoverftomCS LP                         .$           84;&03:'65
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 Tu¡novcr {ïorr¡ C8.lXI                              ß;7't?,635,2o,
 Tqmovcr       G$ Itloldihg
             f,r,orn,
                                                    '9rf8rí14.74.?!
TuinoVéi fhon, Il¿ SaleWqy.                            100;Õ00:00
 Turnover -'Tæh LLC                                        27&1:4
 Tums.vçr - :f ftþune Tavenr                             ti736;6t
 Nct lncsrnq                                        (1,0?6p51.7O)

 Total'Capital                                                                  25i4æ,674;M

 Tsral LlaliilhiÊs & Chpital                                            t       2$f46qø70;t1




                                                U¡¿udited,. For Manegie,me¡t Pwps.ses.Only
                        Case 3:17-cv-00223-RS Document 329 Filed 01/30/18 Page 46 of 55

                                                                                              Prye i
                                                    S¿n Fr¡nsiÉco ßegiöual :gqf5¡
                                                      Susan' L, Uer:ltei-, Þiccelver
                                                           ìXnoomô $tatÈ¡menl
                                                     Foj tlte: Filurth Qqartpr ?0 I 7

                                            Chrr¡sÍfl'Qil¡nor
Rgwnueig
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lstol     fl.o'renuo¡                               l9;0:È0.62


Þçprnscs
Bogciver'g.Feps                                   3il2i654.40
Lee¡iveris Oosts                                       ?it0.36
It[coountlng Fcös &'Côsfs                         3J'0;083'.lg
'Flling   Fees.                                      3;03$i00
Legr¡f F,çê6& gçsts                               333i;E:Ii0.33
tcgall FUcs,& :Co*s-lnunigrirü gn                  37;863;50
Legol.Fe"ei & Coetsrl      L0atovay                  8i?l36,i80
Licsr.! s€t & P_crrnit¡'                             l;s0,3.00
Ofñco Expoieee                                           92,41
Operaring Ex¡ienro                                   !;4P5i70
Fostago Þrgense                                        l0!.07
Pr-ojesstçnCIl FÞes                                 2;ã0CI.00
Taxos - Fodenàrl &.Sts!€                            :3,85816Ji
,Runway/,CS LP Bx¡ie*rse                            2.J7â.00
ÇS llPxpenre                                       ¡¿t3,r3ü0
NÄ3PLF¡,pons.e                                     lil,l540d
Ç$ !Í:LBxponss,                                     2;00O.00

'fotàl Bxpeolejs                                 tS47;472.37

Nst lnsome                              ,    (   i,oâs;35110)r




                                                   .For' Maäa¡¡ar,riovr-t Pu rpqses On   !y
                 Case 3:17-cv-00223-RS Document 329 Filed 01/30/18 Page 47 of 55


                  STANDARDIZEÞ FUND ACOOUNTING REPORT |of NA3FL Escrow FUÊdÊ,CsSh BA8IS
                            Civll Cor.¡rl Casê No. 3:f7-or¡.00223'R$
                                             Ootóbat     1   lo December                201f

FUND AGGOI         llTl¡lG {Ssd lnst¡r¡sllonali
                                                                                                                                                         Reforcnco
       I                            B¡llr¡cs {As õf,Octobsr t,:2017}
                                    ln Fund'Balance:
tlne2
                                   $oqt¡rltlåË-lråndór liom NAâPL öp                                        450:000.00    450r0o0,00
Llns                                        lncome                                                              4Ê0.89        .400;89
                  BrElnô¡¡,

                               Lltlgetlon tnçone
                  illsc€llânoor¡a' Olñ?r                                                                           0:00          0.00
                     T,oüil Fuñdi Aúallable,(l,lnee I                  - t]r                                ¿!O¡rtO;E9    45ôr¡¡80.89   ,t,,0l0rgzg.3q

                  Decr?a¡çs ln Fund Ealance:
       I                                        'lnvestor¡'

       l0                                        Rircalv'ers hlp:Operellóne
       l0a                                Reco lw      l or øh er Prclo $lofi d l s
       10b                        Asso, Exp€¡rses-                                                                0.00          0¡0
       l0c                          Expensos
       fad        /nveslmenf Ëxpenses
       10ô        m k'd' PàW L¡tl g àf¡on Expens6s
                      1..Attom6y FÉð3
                      2.            ExÞensec


       10f         faf   A:dmlnlstæitor'Fêes end Bonds
       Ps                             Sfete fax FayøenJs


       l4                                  for Dtõt'lbutlon                                    by the Fundi
       1,i:a             Dlslributlon
                          1:. Feqsl
                                  Fund Admlñlstratort        .-,-.,.
                                                                       "..
                                  lnd€p€ndent:Dlsklbulibn Oonsult¡nt (lDC).....,..
                                  Dietdbuüon Agenl.., ,,. .,.... .,,.. ,;-, ¡
                                  Consultânt8,,. .....
                                  Logal  AdViiùira..,.                            ..'. . . , .. ..r   ..:

                                  Tax Advis€ts...,..,
                          2, Adminiètråtivê Exp8nges,
                          3. Mlseéllanêoua


       t   1,þ           Dlstrlt4,ftolì P ¡a n tn pJe,m c nlal/oä Ëxpenses.'
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                                  Fund Admlnillrdbi
                                  tDc, .....,. .:,...:...,,......."
                                  DíElrabuüqn    Ageni
                                 ConsullErtts,..... .
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                         :3. lnv€3lor.ldentlffcaüonì
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                                Claime'Piocesoin4
                                WEb SitB l,rä¡ntenane€t/Câll Céofêr.
                          4, Fund Mmlnistratpr,Bond
                          6. Mlscrillan€ou8
                          ô, F€der,8lAcaount for lnvestor Rëstitutloh
                         (FA]R.) Reporting



       12
       12a               'lnvestmanl Ex'd.nqo6Æoüd Fogisry lnvcstment.
                  Sþlcm fGRIS/Foos
       lZb           'Fedsñl Tax Paymnts
                    Tot¡1.      Plè¡uñreû¡oñt¡ to Court/. Othe¡t,
                    iöbl hrndl DllbuûôdlLlhor 9.- tll!                                                                                           0.00'
       {r3        E¡dlns B¡lancô tA¡ of Desembor                        3'1,   t"Pl?r'                                                  1,0r0.02&0ö
               Case 3:17-cv-00223-RS Document 329 Filed 01/30/18 Page 48 of 55

LIns'1¡û
Llno l4a                Oasì 8 Cocll Egulyâlènts.                                                                r,010,923..3Þ       r,010i923,35
Unè t4þ                 ,nrðstiTrénts
Una 14e                 Otlrer f, s¡elc      u   Unotednd        FuÃs
                   Toþl E¡dlng Bdançe,oi Fund                       -   NEtA3B€tr                                f ,010i98$,95       l,0fì0;9¿3.36            l.0t0r02il.!õ   1



OT. H   ER TU PPLEMEI{T,AL INFûRI¡IAIIOI{:
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                                            for Ptan Admlnldnflon Ex-pon¡er Not,Pald                                 þ
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Lìna 16b                Flan l,rtplêmenlddon           Eipcn¡s¡ lvot PsN.by th6
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Una 15c                 T¡¡                                ôr


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                                                                                                              Susan L, U.oakÞr,




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                Case 3:17-cv-00223-RS Document 329 Filed 01/30/18 Page 49 of 55



                                        North Arnerica 3PL
                                    ,Susan f ,, Ueô-kof¡
                                                      Re¡eiver
                                           Balancc.Shept
                                        Dec.ember 3|t,,20|il



                        ASSETS

CurJenl Asscts
M,a¡ket Rate-Escror¡v Funds N,AJÞL LP                      560,886,36
M'arket Rate-Excess Furds NA3FL LLC                        450.:036.99


Total Cuneut Assors                                                              1,010"923.35

Pmperlry and, Equipmenl


Total Propeny and Equipmenl                                                                    0;00

O¡her ¡\ssets


Tbtal O¡her Assets                                                                             0;00

Total Assets                                                             $       1,0   r   0,923J5:




          LI,AtsILITIES AND CAPITAL

Curronf Liabllities:
Invostor Funding                                $          559,099.00

TotalCuflrffi Liabiliilæ                                                           559t899.00

Long.Tenn Liabitiries

'l'otal l.ong-Terr,u l-iaþililies
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Total Llabilities                                                                 559,099,0Û

Capital
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Total L¡abÍlfties & Cqpital
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                      Case 3:17-cv-00223-RS Document 329 Filed 01/30/18 Page 50 of 55




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               Case 3:17-cv-00223-RS Document 329 Filed 01/30/18 Page 51 of 55

                STANDARDIZED ËUNÓ,ACCOUNTING BEFOR'T for NA3PL,(tsU$IhE8¡ÞGqBh                                                      BASIS
                Reoetuorshlp Olvil Oourl gaso No. :3r17"cv.0o22&Rs
                          Fe¡i:od: Octobe¡ 1lo Oêirembdr     2017

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       l0                                 for Recelvere.l¡lp Operatlon¡
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       lt        Dl8buÊorhen!¡ for Dhttllbutlon E {pon.cg.' Pa¡d þy                                                Fund;
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                               Bål¡noe (Ai Of Qecember 31. 2017):
Llne   '13                                                                                                                                                æ   149,829.r5
           Case 3:17-cv-00223-RS Document 329 Filed 01/30/18 Page 52 of 55


   14a          C€rlr û C¿sl, 6q{rlt dtarrts                                                      149i8gg.13        14c.820.13
   14b          lnvastñantg
   14c          OJþprÁcsaß;or Uncøan¿ PwAs
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                                                           Case 3:17-cv-00223-RS Document 329 Filed 01/30/18 Page 53 of 55


        ,Fuô: l/f5ll8                                                                                                                                                                                                                   PagoÊ 2
                 4:00Pü                                                                     NOR-TH AIIJIERIGA 3PL, LLC
                                                                                          << G/L Deþ¡l Ast¡v¡Ty by Aceount >>

         Accoùnt l¡o.                    Àccouni ttame                                                                            Bedlnrrtng.Bala¡ce                 fÞb¡r                   G¡sdil               l.let Aoü-v¡.ty       Bal¡¡ncr
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     Fun ü1f18                                                                                                                                                                                                                          ÞasÊ: ¿o
              ðdl{Pìr                                                                        NORTH AMER¡CA 3PL, LLC
                                                                                           << G/L Detail Activlty by Account >>
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                                                                                                                                                                                                                   q?09Jr7&q5)          $2e5ã-e't

 Açct¡þ.'fr4200                                   Accou-nl       i&ine    B OFA.PAYROLL X1566

     Dats          Þte¡sncs     lúo.            Cl¡ent     ld.    dlþ.nt    name                               Dtv,B¡s      ¡d   llo.   $yslêflt   !eg: galûce.              DeÞ¡t               credt              NetÂsüvfry           Ba}rncs
I    d.OB2OITTBANSFEA FROM OP TO PFI                              ¿¡9ôOæOOÍt¡t24 - TrafÉúúTfûrn         Op       rO   99         Itoof¡sf   JE           i+1,çrs5           $2I;@.0Þ                      $0.00          '81..00O;00       ,864,Ë1,95
1d06rì?0f7wTr{¡6                                PAY,SYS           PAYROLLSYSirEI,IS¡        L]-q                 t0              'tæ8695 UK             Sær081.¡Ë                $0.00                  tI36iT5           :t{!æ.zg         $6t;üt2û
ro0s/20rrpÊ Eñqùi¡G s3o DJSBUmE                                   49604qm9t¡ -PeyollErrdngg ro 9s                                ilO@r7     JE          s6'rør0                  tq@                ar.104,4¡l           t{:!,104.44)      l$Fo;8a8.76
10Ì!'6¿017 pn ENDltt¡G Y30 DISBURSE                                                         rg 9f¡                               I tì00?18 JE           $60;@.76                 $0.û0             $31.6S.77            $31,653:7¡)        @,1ùee
'¡   qt6¿2-0rt PÊ ENDt-'lc f¡80 D¡sBuFsE                                                    r0 9s                                119Þi9     JE          Ð,166.9fr                $0.00             $12.140.'18          $(r¿i10.r8)        $1Zirãô,87
l 0/ffI12017 PR ENDIÀtÊ 9æ0, D¡SBUR€ç                                                                            !o   s9         rrfliz¿é   JÊ          $l?:@.cr                 $o.@                   i42,æ              $(ê28{)         cl6.ß3?'
|    ù.o(rfzùi7Pn,ÉNBrtirG ft:,a DÉBÌJRSE                                                                        l0   99         1'r00æt JE             El6803.97                $0"00                   itð,,{6            $(60.45)       $16,649,sr
1qlO'?OITTRANSFEFi FñOM OP TO PF                                  4s6m09$q9¿9 -TrqtÞt€rl¡o$op t0 9r¡                             r14g/e     JÊ          91654351            s2t.900.00                    s0.{i)         izr;gQo.oo        $3718&51
1d      7/2O17 TÈANS OPS TÐ PH                                    4S60Ð00æ348 -Tràislor.furdà- 10 æ                              1100416 JE             $97;5¡t3.51         121.0dL00                     t0i@           ü1,000.00         Sça;5æ_sr
1w1g/20l7WTWi             ltrtg                 pAySyS            PÂYBOLLSYSTTÊb{S,         LLe                  rO              r0s8965 ¡iK
                                                                                                                                                        'Û5&54351
                                                                                                                                                                                 s0.00                  's3{¡&{            t(34+64¡        $58,198;87
IO¡I9'?017.PF EÁÐING lA13,DI5BUFISE                               4{n00i00033s5 -Pñ EÀ¡ÐtNg1o/rsD                r0   98         t1o(}+50 lrE           s58,199,97               s,.ç0                  ssB3.08           ,3(9&1.68)
                                                                                                                                                                                                                                           s51216.r9
    seûr7 ÞB FNÐ|NÊ r(v€ DÉAUÊSE'
i 0/1                                                                                                            10 r99          11.1X!451 JE           s67216.1E                sû00              s28;8r2.85           $(28,6r¿q5)        $es60aß{
 1U1Stæ17 pß e¡¡Þ¡r.rc r0ñs ¡)rsBgRsÉ,                                                                           t0   e(}        1iln45¿ JE             æeBæ.3{                  $0.00             $ì0,7s.54            $o0,7â6.54)        sl7'847,80
l0/i9å0f ?'PH E'DING toltt' DISBUflSE                                                                            t0   gft        1r00r53    JE          slz8¡$7.g)               t0.00                  tæ.32              tPðma)          $t7,Ss-18
lolszil7           PR ENETNG r 0/13 DSBUBSE                                                                      r0 gft          1IIIX3}    JË          $17;558.4s               $0.&                    $oo.¿e             s{sq€r         $17.499.n2
1    ûA#z0t7TRAl¡$       OPS,TO Fts                               49€09000æ¡19       -Trd,sf€rFuûS- !0 s                         lrmæ ¡c                t-r ¿499.02         $el,0q0.00                    $9.00          sã,m0.00          ssB.48S.02
I    ('l31,t0l7 TRAi'¡S OPS Tb Pfl                                496000@3350 -Tr,àßsterF.undS-                  l0   99         1Iæ4O? JE              $q4xF.02           :$21"000.00                    $0.00          $e1,00{i.00       @,¡r$ioÊ
1Iô3/2017WTÀOÉ             r1ß                  P.AY-SYS          paYFotLsYSrEùrs,          ttc                  10              110á547 0K             s59499.0¿                'E9.00                 ür!94             .$(!18.ö{        @,ss-.3!
                                                                  Case 3:17-cv-00223-RS Document 329 Filed 01/30/18 Page 55 of 55


        nuñ: üls,tE                                                                                                                                                                                                                   Þagg:, 22
               '4:IIOPl¡
                                                                                            NORTH AMERICA 3PL, LLC
                                                                                          << GIL Þetail Activity by Ascount
                                                                    Ërom f o/0t,201i   To:12t31l     1z, Gi/L   åcæunt ri3too to 999,s lnc¡u(Íni¡ A.êounb w.lt!                         or Bâlaæè
                                                                                                                                                                              ^cdvity
         Àocounl         No.                    Acco¡rrl tù,me                                                                Bçg¡nn¡ng Bde¡pe                        Dob¡t                   Credtl              Net Aefiùûy          Babnce,
    I   ilBoIìzof? LAYOFF PÂYFOLI                                                                               iir.s:        irßæâ    JE                æ¿so¡e                      $0.00             .s515.9t
                                                                                                                                                                                                                         fisrs31)          s,tjd39
r¿l{E¡zi}l7TRANS T€i PAYFOII'                                        499p0b003¡t06 - Tråo'¡rftf ¡o p.tro        .lo.99        1lr3a80 JE                 rÞ.7r4139             ßã.0m00                    $o.m         $¿1,o@.txl         $æ.714.39
    12t14tæt7wTwú¿12J14 patctt                                       ÞA:tFortsysTÉrrrg,    L¡_c                 10            rl1æs0 cK                $?3,714-1o                   $o.ofi             $qt5.0s           ¡(33s.ß)         s2?€æ.30
    12J14l20l7PRAnúNG 12¡8 DTSEURSE                                  496ûþ0003824 . PF ENSTMì 12/8 0t           to sq         lrriæ¿o ¿Ë                                            s0.00
                                                                                                                                                       $a9,379.sA                                   $12.10r58         $('r¿iû{,s81        çtTznrz
    rzr¡rutzPB Èipü{G lzs                   DFEURSE                                                             1B    ig,     1t1.3S47 JE              $11;Ín.:n                    $0.00            $s5x¡¡            $(e.554.87ì         97,7ÞÈ
    121¡48ß17FR ENDING 1ø8 DISBURSE                                                                             10    *l      fitaa¡a= JE               St;@ss                      $o,00               $65.68            $(65.681         f/,05-¡.17
1ør¿1l20r7PR eNOÍitG r2l8 [rtSBJhSE                                                                             10 ,99        11r3¡t¡ta JE              .S7;657:1 7                 $ó.oo               $80.,16           ${60.4q          $7.5Se.71
rz22t20't?TRANS¡4                   SOF.À TO BOS     F\              498&XI0O85íXÌ . eb6e BorA FãÍrþt           10    99     111srn    JË                tr.996--r                  æ.æ              $7i5S6.71         sø,596.7tt               60.00
i2l29l:Ðti17VOlf):JE35g)t/BOFAfO,8F                                  ¿96ûi(xid85¿rt =VO|DJÉ353O/EO              10    99     11!A415 JE                      $.00               s4ss6.71                 $0.00          97,5q€¡            s7.5S671
         1t4209                                 B OFÀ-P.AYROL¡- X156Ê                                                                   $¡¡11061.96              Fl¿506Jt                    sl,00r€5              sis.æs:g             *?ss6.n

             I'lo; f15(Íiq                                AÊcdut Name AOtolJtfIS nHiElV¡ÀÊLE
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        Dat6         nd€¡oncÊ ì¡o.                      Clbnt    t¿ CtÞlltllâlno                            Divfeus         ldilo. qmþr¡      B-eg;   Bdsæe                     Dobn            erêúl             HetAeüVi¡y          Babnca
10/01ra017 401709.0æ.Þ1                                oHRìlñr       c.H. FOB|¡¡SON.   MN                       't6   4?     1rùo6E    AH              fgq?!s.c5               sr7,æ5.@                  800           $17,9?s.00       ttQ3,06q65
rofirzorT4oiTosõdi'i                                   CAPTAN        CAPROCKLAÀIDCOI.|PÂNYI+C                   10 47        1101075 AH               'sl()9.680-85
                                                                                                                                                                                $ø,'dod.oo               ¡o90           $2,@qoo         tl05,660:66
1ob1tzol74ot7o+oîGtl                                   MSnff         ustNTEaNAnOr\nLF.¡r                        10 lV        110108r AR               stiffi,460.65                s75,0û                gt.m             $875,fn       gr0ô,58¡:65
1þ/01/ø17¿m{709{16È1                                   MSü\lr        tÃì INTER¡{ATTOML ñtC                      19 17        1tt0t0s? AB              $r0Ê535.65                31.750.00                $!.oo          $rt€{t.to       910¡,æ5,65
I 0Æ1       EOr 7 4Ot 7f¡rè0172.        r              $slÌ{r        ÙßtlsrËRñAîOî.tÀLn¡c                       $     47     ll0tfxxr AR              .$r08,285.65                fb7500                 So:oo            9€r./5:00     ¡1S90160-65
10to2m17ß1.Væ,o171-1                                   BLULOfj_      s-u   l_oc¡gn9s                            1it. 47      riml.gs cA               $Q9.1ô0.6s                    $Û.00           s6.lá1.54         fl9.rar,sa¡       ,8!et,01t9.11
.1:UM!2tü 7 ßr7 A9.o1.7:7 -2.                          BLULæ         BLU   LOGfSflCS                            10 47        t¡oorril ce              $1oEot9.1t                    ,$ôo0           ¡D¿,?Þq,oo        tt+,2¡0.æl         g3I9:1ì
toDaÞolræfigiot4r¡                                     FEDTRCO       pxop<mÁog HmvoRr(s ÞEñt ER 10 ifitl                     rr00109 ca                                                                               qaÙ4L7Bl
                                                                                                                                                       $s8'3rs.Tl                   t0.00           S.o¡t-z¡                             ûso:z¡g
10þ2P01l,l(X70+017e1                                   DTTÂGT        INTEHNATNû.¡ALÅbÏVIrIESCOBÞ                ß     4?.    riowi1, øÀ                $i4¿¡¿.ss                    n00                $5æ.m            ,û(5q!.00)
                                                                                                                                                                                                                                         s9"rÍ33
r0/02Þ0174û17BOr8&r                                    MERCUS        MEFD¡Añcus-r:ei/tsgRof(E&rNr l0                  ¡rs    iH00113 CA                sE9/r-1.3Ë¡                  $0.0s           $1.ð18.6¡¡        $(rJ{ls.Êr)        s88,368J0
1g.fJ?tzo17       4a17w.g¿/w                           llOL          [ro- {AMErucA) F{c.          t0                  46.    ll00rf5   0A              $08,3S.7S                    xr-(Þ           s1,7,00.00        sr,7m"00)          i¡Ê¡sazo
r00¿u01740150ô0288"3                                   MOTLOG'I      tpl.qüEn¡cr{ülq              to                  ¿*s    110û117 GÀ                5866ã8.7r                    $0.ü               $120.0Õ          $(1ä.üt)         t85,5sêïJ
1wt2t2t17WÉæ                                           PâUIIFU,      PAUU{NEF:IIPUSA                            l0    70     1t0fæ9- AB                $86.*xi.7o              s3.ESZ.r8                 .90.æ          $3dI7,48         SsP37Ë1b
I0103120174sr70$0AÉ1                                   JOSct+B       JOStlUli¡CHB,lNe                           f0    45     1100121 qA                þo,r/ê.r8                     om             $rF6s.d8          $(t"¡¡g.a¡¡'       $88.m6.Ct
tolæ¿otz¡fuzo+orsç:                                    An ofr        AECtfYi{C                                  10 46        1100123 cA               ,st¡8,806:30                  $o.00           ,S1,9'31.01       f{l.ctL.of)        $85¡75,29
1       0m6,Sol 7401 702-ol ô7"2                       uÀEcNe        ITAEHSK U],¡ËJrlC                          7Ð 47        fioorzs .cA               588¡fl5¿9                    $0.00           El,615-00         s'(1.ô15"m)        $85.260.æ'
1.U0€ÆO171fi1æ240l'1-1                                 ¡rAEtnt       IVTAERSI( LINE -GOVÈRNMENT      Sì/CS 10 45             Ír0oJ27 cA                s8s2g!29                                     Sl3st.38
                                                                                                                                                                                    9o.oo                             ùr.ã?38)           9Ar,00,¿91
1   o08t2ût7      /¡{r   1   m-E001&.2                 nÆu           uAEfiSl{ uNE$,    lNe-                     70 4z        llmlæ ca                  $84,09¿9t                    $o.00              $59s"00          ü(595.00)        l8q{o7,9t
1ry&!401 7 .lot 70&o:æl-1                              HUrßEl        HUMANSEIÀGPf,ODUCÍS                        10 70        ilootal cA                $a3,4ÐZ¡r                    $ù0Ê                 $t 00             tû04          S83,¡w,9Ít
r   oõrEO r 7 40r            7osæ r-i   -AD.J          HUUBEI        HUi,IANEEIi-¡GPHODVOTS l0                        7,o    110.101æ SiA             'súe4073s                     s.so                 ;fo,o2           $P'oa          $8t407ål
I   At@f?s17 101 7 N-. 01 42-1                         I}YNCUS       DY.NASry CUSfOlrS BROKER       rNC_ lb           47     i1oo1s5 gA                sæ,407-e.l                   $0s0            $1325,00          ${r"32õ.m)         $s4me,sr
